  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 1 of 57 PageID #:6335




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
STATE OF ILLINOIS, and CITY OF                  )
CHICAGO ex rel. ANGELO                          )
MILAZZO,                                        )
                                                )       No. 17 C 03062
               Plaintiff-Relator,               )
                                                )       Judge John J. Tharp, Jr.
               v.                               )
                                                )
JOEL KENNEDY CONSTRUCTING                       )
CORP., and JOEL W. KENNEDY,                     )
                                                )
               Defendants.

                         MEMORANDUM OPINION AND ORDER

       Relator Angelo Milazzo and the City of Chicago collectively allege that Joel Kennedy

Constructing Corp. and its owner and president, Joel Kennedy, misrepresented the corporation’s

status as a city-based business and obfuscated JKCC’s non-compliance with worker residency

provisions in hundreds of millions of dollars’ worth of public works contracts performed for the

City over the course of at least a decade. Milazzo’s second amended complaint asserts federal,

state, and municipal causes of action against JKCC for the submission of false claims. Milazzo

Second Am. Compl, ECF No. 68. The City-Intervenor’s complaint alleges claims under the

municipal false claims, false statements, and consumer fraud ordinances against JKCC and

Kennedy, as an individual, and for breach of contract against JKCC. City Compl., ECF No. 45.

The defendants have moved to dismiss both complaints under Rule 12(b)(6) for failure to state a

claim. Defs.’ Mot. Dismiss, ECF No. 59. That motion is granted in part and denied in part.

Milazzo’s second amended complaint and Counts I and II of the City’s complaint are dismissed

without prejudice; the plaintiffs have inadequately pleaded that the defendants presented false or

fraudulent claims to the City and that the defendants’ alleged misrepresentations regarding their
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 2 of 57 PageID #:6336




compliance with the relevant ordinances were material, and the City has inadequately pleaded

Kennedy’s individual involvement in the CRO scheme. The City’s other claims survive.

                                    I.     BACKGROUND

       For purposes of evaluating the motion to dismiss, the Court accepts all well-pleaded facts

as true and draws all reasonable inferences in favor of the plaintiffs. Joel Kennedy Constructing

Corporation is an Illinois corporation with its principal place of business in Waukegan, Illinois.

City Compl. ¶¶ 7, 80; ECF No. 45. The company has a long history of doing construction work

with the city of Chicago. Id. at ¶¶ 12-13. Joel Kennedy is the president and owner of JKCC; he has

been president of JKCC since at least 1982. Id. at ¶ 8. Relator Angelo Milazzo was a JKCC

employee from approximately 1987 to 2015, and a ten percent owner of JKCC until 2011. Milazzo

Second Am. Compl. ¶ 5, ECF No. 68. He held a variety of senior positions at JKCC, including

corporate secretary/treasurer, project manager, engineer, and head estimator. City Compl. at ¶ 9.

       Milazzo filed this qui tam action in 2017. The City of Chicago intervened in November

2019. Together, Milazzo and the City allege that JKCC engaged in fraud relating to six contracts

with the City of Chicago:

          JKCC Project/Job No. 1141, Contract (PO) Number 19367, Specification Number
           68904: contract between JKCC and the City of Chicago Department of Water
           Management entitled “Private Drain Repair – North Area/DWM Project 6220A,”
           which was awarded on or around March 3, 2009, and was set to end on or around March
           3, 2011, but was extended for at least another year. (Dkt. No. 45-1). The final contract
           value was more than $8,000,000.

          JKCC Project/Job No. 1154, Contract (PO) Number 26407, Specification Number
           104069: contract between JKCC and the City of Chicago Department of Water
           Management entitled “North District Water Construction,” which was awarded on or
           around May 10, 2012, and ended on or around February 3, 2013. (Dkt. No. 45-2). The
           final contract value was more than $26,400,000.

          JKCC Project/Job No. 1157, Contract (PO) Number 27739, Specification Number
           112101: contract between JKCC and the City of Chicago Department of Water
           Management entitled “Water Main Construction – District One,” which was awarded



                                                2
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 3 of 57 PageID #:6337




           on or around January 31, 2013, and was set to end on or around January 27, 2016, but
           was extended through at least the end of 2016. (Dkt. No. 45-4). The final contract value
           was more than $77,000,000.

          JKCC Project/Job No. 1158, Contract (PO) Number 27738, Specification Number
           112102: contract between JKCC and the City of Chicago Department of Water
           Management entitled “Water Main Construction – District Two,” which was awarded
           on or around January 30, 2013, and was set to end on or around January 27, 2016, but
           was extended through at least the end of 2016. (Dkt. No. 45-3). The final contract value
           was more than $79,600,000.

          JKCC Project/Job No. 1159, Contract (PO) Number 28325, Specification Number
           115457: contract between JKCC and the City of Chicago Department of Water
           Management entitled “Damen Avenue Sewer Improvement – N. Damen Ave & W.
           Albion Ave.,” which was awarded on or around July 24, 2013 and ended on or around
           July 27, 2017. (Dkt. No. 45-5). The final contract value was more than $4,000,000.

          Contract (PO) Number 43252, Specification Number 127995: contract between JKCC
           and the City of Chicago Department of Water Management entitled “Augusta
           Boulevard Sewer Improvement,” which was awarded on or around October 19, 2016,
           and ended on or around February 13, 2018. (Dkt. No. 45-6). This contract was federally
           funded with money allocated by the United States Department of Housing and Urban
           Development. The final contract value was more than $1,900,000.

       There are now two operative complaints: The City-Intervenor’s complaint (Dkt. 45) and

Milazzo’s second amended complaint (“SAC”; Dkt. 68). In the SAC, Milazzo brings federal

(Counts I and II), state (Counts III and IV), and city (Counts V and VI) false claims act claims

predicated on JKCC’s fraudulent noncompliance with the Chicago Residency Ordinance (“CRO”),

as incorporated into each of JKCC’s contracts with the City. The City’s complaint raises claims

based on the municipal false claims ordinance (Count I); the municipal false statements ordinance

(Count II); the municipal consumer fraud ordinance (Count III); and breach of contract (Count

IV), predicated on JKCC’s fraudulent noncompliance with the CRO and, in addition, allegedly

false attestations that it qualified for the Chicago Business Preference. The City alleges Counts I,

II, and III against both JKCC and Joel Kennedy, in his individual capacity, and Count IV against

JKCC only.




                                                 3
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 4 of 57 PageID #:6338




   The plaintiffs’ complaints describe two fraudulent schemes JKCC allegedly engaged in to

avoid its obligations under City contracts. Those schemes are examined in turn.

       A.      The Chicago Residency Requirement (Milazzo and City)

       Each of JKCC’s contracts with the City required that at least fifty percent of the total

number of labor hours worked under the contract be performed by Chicago residents. Milazzo

SAC ¶ 10. Milazzo alleges that JKCC did not comply with those residency requirements, despite

its certifications to the contrary. Per the City contracts, JKCC was required to provide certified

payroll documentation on a weekly basis. Id. at ¶ 14. The submitted payrolls, each of which JKCC

was required to certify was “correct and complete,” included each worker’s address information,

so that the City could verify that JKCC was complying with the residency requirements. Id.; see

also City Compl. Ex. A at 33, ECF No. 45-1 (“Certified payroll reports (U.S. Department of Labor

Form WH-347 or equivalent) must be submitted weekly to the Commissioner of the supervising

department in triplicate, shall identify clearly the actual residence of every employee on each

submitted certified payroll.”). Compliance with the residency requirement was not optional—the

contract books expressly state that “[g]ood faith efforts on the part of the contractor to provide

utilization of actual Chicago residents shall not suffice to replace the actual, verified achievement

of the requirements of this section concerning the worker hours performed by actual Chicago

residents.” Id. The contract papers were similarly clear that non-compliance with the residency

requirement would result in a financial penalty—contractors were informed that “[w]hen work is

completed, in the event that the City has determined that the contractor failed to ensure the

fulfillment of the requirement of this section . . . the City will thereby be damaged in the failure to

provide the benefit of demonstrable employment to Chicagoans to the degree stipulated” and “1/20

of 1 percent (.05%) of the approved contract value for this contract shall be surrendered by the

contractor to the City in payment for each percentage of shortfall toward the stipulated residency


                                                  4
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 5 of 57 PageID #:6339




requirement.” Id. If a contractor failed to report employees’ residency “entirely and correctly,” the

contractor would “surrender the entire liquidated damages as if no Chicago residents were

employed” in fulfilling the contract. Id. Contractors were warned that they were required to keep

personnel data for at least three years; that affidavits or other supporting documentation may be

asked for to verify the submitted data; and that the willful falsification of statements and

certification of payroll date may expose the contractor to criminal prosecution. Id.

       Milazzo alleges that the residency fraud was carried out in two ways. First, JKCC

“routinely” omitted non-City employees from the payroll documentation to artificially inflate the

City-resident to non-City resident employee ratio. Milazzo Second Am. Compl. at ¶ 19. Milazzo

contends JKCC kept two different sets of payroll records: one used internally, and one that was

submitted to the city. Id. at ¶ 20. Robin Jasper, a JKCC employee and Board Member, “would

typically gather the payroll each week and tender it to the company’s payroll provider”; a different

employee, Leonor Bond, would draft the certified payroll documentation to be submitted to the

city. Id. at ¶ 21. JKCC project engineer Michael Patti, who was responsible for keeping track of

the residency requirement, would instruct Bond to omit certain employees before reporting the

information to the city. Id. Milazzo provides examples, such as the week ending on July 5, 2015.

Id. at ¶ 22. In that week, JKCC paid 27 people for work performed on city contracts (according to

official payrolls submitted to the JKCC’s payroll company) but reported paying only 15 of those

people to the City in an effort to inflate the percentage of work done by City residents. Id.

       Second, JKCC sometimes used fake Chicago addresses for employees who did not actually

reside in Chicago. Id. at ¶ 19. Milazzo names several employees whose addresses JKCC had, at

some point, falsified, including Joel Kennedy’s sisters, Sherry and Kristie, Joe and Hugo Lozano,

Avery Jackson, and Jorge Ayala. Id. at ¶ 26. Milazzo contends that Joel Kennedy knew each of




                                                 5
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 6 of 57 PageID #:6340




these people personally and therefore knew that they did not live in Chicago, though the certified

payrolls reported otherwise. In December 2014, JKCC falsely reported two employees as residing

at the Chicago home of JKCC Board Member, VP, and General Counsel Paul Lubanski. Id.

Finally, JKCC’s certified payroll documents were sometimes inconsistent for the same person

across projects. Sherry Kennedy, for example, was reported at her true Harvard, Illinois address in

October 2012, but at a Chicago residence for later projects; at other times, the inconsistencies are

revealed by comparing JKCC’s legitimate direct deposit information with the address information

provided on the certified payrolls.

        B.      Chicago Business Preference (City)

        Chicago’s municipal code Section 2-92-412 requires that, for applicable contracts with

estimated contract values of $100,000 or more, the City’s Chief Procurement Officer shall allocate

a bid preference to any qualified bidder that is a prime contractor that is a City-based business.

City Compl. at ¶¶ 67-68. A “city-based business” is one that “(i) conducts meaningful day-to-day

business operations at a facility located within the city and that facility is the place of employment

for the majority of its . . . regular, full-time workforce; (ii) holds all appropriate city licenses; and

(iii) is subject to applicable city taxes.” Id. at ¶ 68. Each of the city contracts except for P.O. 43252

allowed prospective bidders to apply for the Chicago Business Preference. Id. at ¶ 69; see, e.g.,

City Compl. Ex. A at 101 (“A Chicago business . . . is a business located within the corporate

limits of the City, which has the majority of its regular, full-time work force located within the

City, and is subject to City of Chicago taxes.”). The preference operated such that the Chief

Procurement Officer “will accept the lowest bid price or lowest evaluated bid price from a

responsive and responsible Chicago business, provided that the bid does not exceed the lowest bid

price or lowest evaluated bid price from a responsive and responsible non-Chicago business by

more than two percent (2%).” Id.


                                                   6
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 7 of 57 PageID #:6341




       JKCC submitted an “Affidavit of Chicago Business” in connection with each of the eligible

contracts. See City Compl. Ex. G. On each affidavit, Joel Kennedy attested that the JKCC is a

“Chicago Business” as defined by Book I of each contract; listed a Chicago street address as

JKCC’s principal place of business; indicated JKCC’s total number of employees and number of

current employees working at City of Chicago locations; and responded affirmatively that JKCC

is subject to city taxes. Id. The City alleges, however, that JKCC is not a business located within

the city’s corporate limits, because its principal place of business is in Waukegan, and that, at

relevant times, JKCC did not maintain most of its regular workforce within the city. City Compl.

at ¶¶ 71-81. The City alleges that JKCC and Kennedy made these false statements to gain an

advantage in the City procurement process. Id. at ¶ 82.

                                       II.     DISCUSSION

       The defendants have moved to dismiss the plaintiffs’ complaints under Rule 12(b)(6).

Defs.’ Mot. Dismiss, ECF No. 59. In reviewing the sufficiency of a complaint, this Court must

accept all well-plead facts as true and draw all permissible inferences in favor of the plaintiffs.

United States ex rel. Blaum v. Triad Isotopes, Inc., 104 F. Supp. 3d 901, 912 (N.D. Ill. 2015) (citing

Agnew v. Nat’l Collegiate Athletic Ass’n, 683 F.3d 328, 334 (7th Cir. 2012)). The Federal Rules

of Civil Procedure’s notice-based pleading standard requires a complaint to “contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Id. (citing

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Fraud-based claims brought under the False Claims

Act, however, are subject to the heightened pleading standard of Rule 9(b), which requires

plaintiffs to “state with particularity the circumstances constituting fraud or mistake.” Fed. R. Civ.

P. 9(b). The “precise level of particularity required under Rule 9(b) depends upon the facts of the

case,” but the pleading generally should describe “the who, what, when, where, and how of the

fraud.” Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 737 (7th Cir. 2014); see also United


                                                   7
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 8 of 57 PageID #:6342




States ex rel. Prose v. Molina Healthcare of Ill., Inc., 17 F.4th 732, 739 (7th Cir. 2021) (under the

federal and state false claims acts, a plaintiff’s allegations must be “precise” and “substantiated,”

though “courts and litigants should not ‘take an overly rigid view of the formulation’”) (citations

and some internal quotations omitted).

       A.      Jurisdiction

       The defendants do not challenge this Court’s jurisdiction, but courts have “an independent

obligation to determine whether subject-matter jurisdiction exists,” Arbaugh v. Y&H Corp., 564

U.S. 500, 501 (2006), and the question of federal jurisdiction warrants consideration where the

United States is not a party to any of the six contracts at issue.. Milazzo invokes federal-question

jurisdiction under 28 U.S.C. § 1331 by asserting a violation of the federal False Claim Act, 31

U.S.C. § 3729, and supplemental jurisdiction under 28 U.S.C. § 1367 for claims premised on

violations of the state and municipal false claims acts. Contending that its claims arise out of the

same case or controversy—the same allegedly fraudulent conduct—as Milazzo’s federal and

supplemental state and local claims., the City of Chicago has alleged supplemental jurisdiction

over its municipal claims as well.

       To begin, there is no infirmity in the invocation of federal question jurisdiction. A private

person may bring a civil action under the federal False Claims Act, on behalf of the federal

government, for a violation of 31 U.S.C. § 3729, which prohibits (among other conduct) the

knowing presentation of a false or fraudulent claim for payment or approval. 31 U.S.C.

§ 3729(a)(1). The statute defines a claim to include requests or demands for money made to a

“contractor, grantee, or other recipient” of government money, “if the money or property is to be

spent or used on the Government’s behalf or to advance a Government program or interest” and

the United States Government “provides or has provided any portion of the money or property

requested or demanded.” 31 U.S.C. § 3729(b)(2)(A). Milazzo has alleged Contract (PO) Number


                                                 8
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 9 of 57 PageID #:6343




43252 between JKCC and the City of Chicago Department of Water Management, entitled

“Augusta Boulevard Sewer Improvement,” is “federally funded with money allocated by the

United States Department of Housing and Urban Development.” Milazzo Am. Compl. at ¶ 9(e).

As such, JKCC’s allegedly fraudulent claims for money under that contract create a federal false

claims cause of action, though those claims were directed to the City—a “grantee, or other

recipient” per § 3729(b)(2)(A)(ii)—and not to HUD, directly.

       The majority of the plaintiffs’ claims, however, are state and municipal claims arising out

of municipally funded contracts. This Court’s exercise of supplemental jurisdiction over those

claims is nonetheless appropriate under 31 U.S.C. § 3732(b), which provides for district court

jurisdiction over state law claims regarding state funded contracts “if the action arises from the

same transaction or occurrence as an action brought under section 3730.” The Seventh Circuit has

previously observed that there is “no formalistic test” for determining whether claims arise out of

the “same transaction or occurrence,” but that factors such as “the nature of the claims, the legal

basis for recovery, the law involved, and the respective factual backgrounds” should be considered.

Ross ex rel. Ross v. Bd. of Educ. of Tp. High School Dist. 211, 486 F.3d 279, 284 (7th Cir. 2007).

Those factors weigh in favor of jurisdiction here—the plaintiffs’ state and local law claims involve

the same or substantively similar false claims JKCC allegedly made to receive payment on its

public works contracts; those claims were allegedly part of a broader scheme spanning several

contracts and years; and, as discussed below, the state and local statutes are interpreted by

reference to the federal false claims statute. And at least one district court has concluded that “an

alleged system or scheme of making false claims to both federal and state entities can be considered

‘the same transaction or occurrence’ for jurisdiction purposes” under Section 3732(b). United

States ex rel. Anthony v. Burke Engineering Co., 356 F. Supp. 2d 1119, 1120 (C.D. Cal. 2005).




                                                 9
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 10 of 57 PageID #:6344




This Court agrees and concludes that it has jurisdiction over the state and municipal causes of

action pursuant to section 3732(b).

       B.      Relator and the City Have Failed to Adequately Allege that the Defendants
               Submitted False Claims

       The plaintiffs’ false claims allegations are somewhat complex; the relevant counts of their

respective complaints comprise two schemes, three statutes, several subsections of each statute,

and various legal theories. Parsing out these components, Milazzo essentially raises three claims

that each assert violations of three statutes: he invokes the presentment, false statement, and

“reverse claim” subsections of each of the federal, state, and municipal false claims statutes, based

on JKCC’s alleged fraud obscuring its noncompliance with the CRO. The City also presses

presentment, false statement, and “reverse claim” theories based on the alleged CRO scheme, but

only under the municipal false claims ordinance. The City also adds a claim under the municipal

false statements ordinance predicated on the allegedly false attestations used to qualify for the

Chicago Business Preference. The Illinois False Claims Act and City’s municipal false claims and

false statements ordinances are interpreted by reference to the federal False Claims Act case law.

See, e.g., People ex rel. Lindblom v. Sears Brands, LLC, 143 N.E.3d 101, 112 (Ill. App. Ct. 2019)

(“Because the [Illinois False Claims] Act closely mirrors the federal False Claims Act . . . we may

look to federal law for guidance in construing the Act.”); City of Chicago ex rel. Rosenberg v.

Redflex Traffic Sys., Inc., 884 F.3d 798, 802-03 (7th Cir. 2018) (“Given the substantive similarity

between the Illinois False Claims Act (IFCA) . . . and the FCA, Illinois courts have relied upon

federal cases interpreting the FCA in construing the provisions of the IFCA. . . . We are confident

Illinois courts would likewise look to federal FCA cases in interpreting the [municipal] FCO.”);

City of Chicago v. Smollett, 421 F. Supp. 3d 565, 571-72 (N.D. Ill. 2019) (“[B]ecause Illinois

courts would likely use state and federal False Claims Act cases when interpreting the City’s False



                                                 10
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 11 of 57 PageID #:6345




Claims Ordinance . . . the Court will also look to state and Federal False Claims Act cases to aid

its interpretation of the City’s False Statements Ordinance, given the similarity between the two

ordinances.”). Neither party argues that there are substantive differences between the federal, state,

and municipal false claims statutes that warrant analyzing the claims separately in this case, so the

Court’s analysis will not distinguish between them. The plaintiffs’ false claims theories are

examined in turn.

                    Presentment of False or Fraudulent Claims

       The plaintiffs’ first false claim theory is that the defendants knowingly presented, or caused

to be presented, a false or fraudulent claim. Based on JKCC’s alleged violations of the CRO, the

plaintiffs argue that: (1) the certified payrolls themselves are false claims that were presented to

the City; and (2) even if the payrolls themselves are not “claims” within the meaning of the statutes,

that the alleged fraud on the certified payrolls rendered the defendants’ explicit or implicit

representations of compliance with relevant contractual or regulatory provisions—communicated

through their submission of invoices for payment—false and fraudulent. The plaintiffs also base

their presentment claims on a fraudulent inducement theory. Milazzo and the City both argue that

the defendants never intended to comply with the CRO and that, if the City had known as much,

it would never have awarded the relevant contracts to JKCC—and, as such, all claims for payment

under the contract were false or fraudulent. The City additionally argues that the defendants’

misrepresentations regarding JKCC’s status as a City-based business induced the City to enter into

the relevant contracts with JKCC and rendered all claims for payment under the contracts false or

fraudulent.

                       a) The Certified Payrolls Are Not Claims

       The defendants first argue that the certified weekly payrolls are not themselves “claims.”

Under all three false claims authorities, a claim is defined to include “any request or demand,


                                                 11
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 12 of 57 PageID #:6346




whether under a contract or otherwise, for money or property” that is presented to an officer,

employee, or agent of the relevant government unit. 31 U.S.C. § 3729(b)(2)(A); 740 ILCS

§ 175/3(b)(2)(A); MCC § 1-22-010. The plaintiffs urge that the term “claim” should be “construed

broadly” to reach “all fraudulent attempts to cause the [g]overnment to pay out sums of money,”

and note that JKCC’s submission of weekly payroll reports was a condition of payment. Pls.’ Resp.

Opp’n at 27-28 (alteration in original).

       The Court agrees with the defendants that the weekly payroll certifications are not

themselves “claims” within the relevant statutory definitions. The weekly payrolls simply did not

assert any request or demand for payment. Milazzo and the City cite language from other courts

in this district to argue that the certified payrolls are “claims,” even though they are not invoices

and even though they “did not result in immediate payment from the government,” because the

“statute reaches beyond claims which might be legally enforced, to all fraudulent attempts to cause

the Government to pay out sums of money.” United States ex rel. Tyson v. Amerigroup Illinois,

Inc., No. 02 C 6074, 2006 WL 4586279, at *5 (N.D. Ill. Sept. 13, 2006). In Tyson, however, the

allegedly false enrollment forms that the plaintiff identified as false or fraudulent “claims” were

“submitted in order to receive payment for the individuals who were ultimately enrolled”—

submission of the enrollment forms at issue trigged the Illinois Department of Healthcare and

Family Service’s payment of an “applicable capitation rate for each enrollee” and subsequent

“monthly capitation payments to Amerigroup Illinois based on its enrollees.” Id. at *1, *5.

       By contrast, the plaintiffs here do not allege that the weekly payroll submissions, standing

alone, stood as “request[s] or demand[s]” for payment at all. Instead, the plaintiffs allege that the

defendants’ allegedly false certifications of their payroll submissions were necessary “in order to

continue receiving payment on invoices submitted to the City”—recognizing, implicitly, that the




                                                 12
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 13 of 57 PageID #:6347




process for requesting payment was separate from the process for submitting payrolls. See, e.g.,

Milazzo SAC at ¶ 14; City Compl. at ¶ 66; see also City Compl. at ¶ 45 (“Defendants submitted

hundreds of invoices to the City under each of the DWM Contracts, including but not limited to

invoices for labor, equipment, and materials for underground water main installation and sewer

pipe installation.”). Unlike the allegedly false applications in Tyson, the payroll certifications did

not trigger payment for JKCC’s work on the relevant contracts; instead, the certifications

“allow[ed] the City to ensure that contractors such as JKCC were following the City’s residency

requirements.” Milazzo Second Am. Compl. at ¶ 14. Payment was separately requested through

invoices that were submitted according to an agreed payment schedule, but “at least once per

month.” See, e.g., City Compl. Ex. A. at 47.

       The nature of the defendants’ alleged violations confirms that each payroll submission

cannot constitute a “false claim,” even if payrolls were otherwise claims within the meaning of the

statute. Under each of the plaintiffs’ theories of liability, the falsity of JKCC’s requests for payment

is based on their representation of compliance with—but actual noncompliance with—the CRO

requirement, not on the fact that JKCC provided false addresses or omitted non-City resident

workers from its payrolls. And each contract required only that at least fifty percent of the total

number of hours worked be performed by City residents, not that at least fifty percent of the work

performed each week be performed by City residents. See, e.g., id. at 32 (“If the funding under this

contract is $100,000 or more, Contractor . . . shall comply with the minimum percentage of total

worker hours performed by actual residents of the City of Chicago as specified in § 2-92-330 of

the Municipal Code . . . .”); MCC § 2-92-330 (for such contracts, “the total hours worked by

persons on the site of the construction project by employees of the contractor and subcontractors

shall be performed (i) at least 50 percent by city residents”). So, setting the allegations about fake




                                                  13
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 14 of 57 PageID #:6348




addresses and omitted workers aside, JKCC’s claims for payment only became “false” at the point

at which it was no longer possible for JKCC to comply with the 50% requirement; a single claim

for payment early in the contract would not be inherently false based on the mere fact that less

than fifty percent of the work performed in that period was performed by non-residents.

                       b) Express or Implied Certification of Contractual Compliance

       Because the weekly payroll submissions are not themselves “claims” under the federal,

state, or municipal false claims act statutes and ordinance, the plaintiffs must plausibly plead that

JKCC falsely certified, expressly or impliedly, its compliance with the CRO and thereby rendered

its invoices for payment “false or fraudulent.” “Under an express false certification theory, a

plaintiff must allege that defendants ‘falsely and specifically certified that it is in compliance with

regulations which are prerequisites to Government payment in connection with the claim for

payment of federal funds.’” United States v. Walgreen Co., 417 F. Supp. 3d 1068, 1085 (N.D. Ill.

2019) (citation omitted). And it is by now well-established that “’false or fraudulent claims’

include more than claims containing express falsehoods”—“misrepresentations by omission can

[also] give rise to liability.” Universal Health Servs., Inc. v. United States, 579 U.S. 176, 187

(2016) (Escobar). As such, a defendant may be liable under the False Claims Act under an implied

certification theory “at least where two conditions are satisfied”: first, that the defendant submitted

a claim that went beyond “merely request[ing] payment” to “make[] specific representations about

the goods or services provided,” and second, that the defendant’s “failure to disclose

noncompliance with mandatory statutory regulatory or contractual requirements makes those

misrepresentations misleading half-truths.” Id. at 190; see also Walgreen Co., 417 F. Supp. 3d at

1087 (explaining that an implied false certification theory applies when a defendant makes

representations in submitting a claim but omits mention of its statutory, regulatory, or contractual

violations, such that the defendant’s incomplete representations are misleading with respect to the


                                                  14
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 15 of 57 PageID #:6349




goods or services provided); United States v. Catholic Health Initiatives, 312 F. Supp. 3d 584, 603

(S.D. Tex. 2018) (describing the requirements for the express and implied forms of a “legal falsity

theory,” wherein plaintiffs allege “that Defendants falsely certified compliance with a federal

statute, regulation, or contract that is a prerequisite to obtaining the government benefit”).

       Milazzo and the City do not plausibly allege that the defendants expressly falsely certified

their compliance with the CRO on invoices for payment under any of the relevant contracts. After

summarizing the defendants’ alleged practices of omitting non-City workers from certified payroll

reports, providing false City addresses for non-City workers, and attributing contract work hours

to workers assigned to different JKCC jobs, the City merely concludes that “the[] certifications

were false, and known to have been false when made.” City Compl. at ¶ 63. Milazzo provides

more specificity, alleging that, as part of the required payroll submissions, “JKCC was required to

certify that its payroll submissions were ‘correct and complete.’” Milazzo Second Am. Compl. at

¶ 15; see also Pls.’ Resp. Opp’n at 28 (defending the express certification theory with only the

conclusory statement “Plaintiffs allege that Defendants expressly certified, or, in Kennedy’s case,

caused others to expressly certify—falsely—that JKCC had complied with the Hiring Provisions,

including by submitting false payroll reports”). But knowing that the payroll reports were false

and certifying that they were accurate are two different sins. Nothing in Milazzo or the City’s

complaint suggests that JKCC or Kennedy ever “affirmative[ly] misstate[d]” their compliance with

the CRO, either on the certified payrolls themselves or on invoices submitted for payment. Prose,

17 F.4th at 742; United States ex rel. Yannacopoulos v. General Dynamics, 652 F.3d 818, 824 (7th

Cir. 2011) (explaining that if the breaching party “falsely claims to be in compliance with the

contract to obtain payment . . . there may be an actionable false claim”). Compare, e.g., United

States v. Luce, 873 F.3d 999, 1001 (7th Cir. 2017) (false claims case predicated on false express




                                                 15
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 16 of 57 PageID #:6350




certification in a “Yearly Verification Report” that none of the corporate officers of the mortgagee

were involved in criminal proceedings or investigations); City of Chicago v. Purdue Pharma L.P.,

211 F. Supp. 3d 1058, 1078 (N.D. Ill. 2016) (court concluded that the City had failed to allege

claim under theory of express false certification, because the City did not assert that it received or

relied on a completed form that required doctors to expressly certify that the services documented

on the form were medically necessary); Illinois ex rel. Strakusek v. Omnicare, Inc., No. 19 C 7247,

2021 WL 308887, at *11 (N.D. Ill. Jan. 29, 2021) (no express certification claim based on mere

use of Medicaid provider identification number in electronic submission to Illinois Department of

Public Aid, because “Relator has not alleged with particularity, as Rule 9(b) requires, the basis for

his conclusion that the identification number conveys an affirmative misrepresentation that

Defendants complied with the [Illinois Controlled Substances Act]”).

       The plaintiffs’ implied certification theory is a better fit for the facts alleged, but still cannot

survive the defendants’ motion to dismiss. To adequately plead a cause of action premised on an

impliedly false certification, Milazzo and the City must do more than plausibly allege that the

defendants violated the CRO, even if JKCC employed a fraudulent scheme to do so—“[a] violation

of a regulation ‘is not synonymous with filing a false claim.’” United States ex rel. Berkowitz v.

Automation Aids, Inc., 896 F.3d 834, 842 (7th Cir. 2018) (citation omitted); see also United States

ex rel. Lisitza v. Par Pharm. Cos., 276 F. Supp. 3d 779, 797 (N.D. Ill. 2017). Instead, “[a]bsent

any specific misrepresentation on the face of the claims, the plaintiffs must identify omitted

information that renders the description” of the goods or services for which payment is sought—

here, construction services—misleading. Id. at 798; see also Escobar, 579 U.S. at 187.

       Milazzo and the City argue that they have adequately “plead[ed] two forms of implied

certification: the weekly payroll submissions and the invoices certified and submitted to the City




                                                   16
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 17 of 57 PageID #:6351




under JKCC’s contracts.” These submissions, they contend, impliedly falsely certified JKCC’s

compliance with the CRO in light of the fact that, “[a]s a prerequisite for payment, the City

mandate[d] that weekly payroll submissions be certified and turned into the City with correct

addresses and residency information for workers that performed labor on JKCC’s contracts.” Pls.’

Resp. Opp’n at 29. So, the plaintiffs argue, JKCC’s requests for payment—taking into account the

invoices themselves, and the payrolls, falsely certified as accurate, submitted in conjunction with

those formal requests for payment—“implicitly assur[ed]” the City that JKCC was in compliance

with the CRO as it performed the work for which it was requesting payment. Id. at 28 (citing

United States v. Sanford-Brown, Ltd., 788 F.3d 696, 711 n.7 (7th Cir. 2015)).

       Standing alone, the invoices submitted for payment cannot be the basis for the plaintiffs’

implied certification theory, because neither the City nor Milazzo alleges that the invoice

submissions required JKCC to certify that it had performed the contracted-for work in accordance

with statutory, regulatory, and contractual requirements. As a result, the plaintiffs have not

satisfied the first prong of Escobar’s two-prong test for implied certification liability—there are

no allegations that the actual invoices submitted for payment required JKCC to make “specific

representations about the goods or services provided” or to do anything more than “merely request

payment.” Escobar, 579 U.S. at 190; United States v. Sanford-Brown, Ltd., 840 F.3d 445, 447 (7th

Cir. 2016).

       Alternatively, the plaintiffs seem to argue that even if JKCC was not required to make any

specific representation about their compliance with the CRO, or with statutory, regulatory, or

contractual provisions more generally, JKCC’s provision of its workers’ (false) address

information and JKCC’s payroll attestations that the information provided was true and accurate

created a misleading impression that JKCC complied with the CRO. It is undisputed that the




                                                17
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 18 of 57 PageID #:6352




standard payroll form JKCC submitted “required [it] to certify that its payroll submissions were

‘correct and complete.’” Milazzo Second Am. Compl. at ¶ 30 and, as a result, the payrolls did

make a “specific representation.” The trouble is, however, that the representation pertained to the

information contained within the form and not “about the goods or services provided.” Saying

that the residency information was accurate does not say anything about whether the invoices for

the construction work performed were false in any sense; even considering the residency

certification, the plaintiffs fail to satisfy Escobar’s requirement that the implied false statement

say something false about the goods or services for which payment is being sought.

       A further obstacle undermines the plaintiff’s reliance on an implied certification theory.

The plaintiffs’ allegations suggest, and their theory seems to presume, that the certified payrolls

were the City’s designated mechanism for monitoring compliance with the CRO. See, e.g., City

Compl. at ¶ 106 (“Defendants repeatedly and intentionally omitted and concealed material

information from the City about its workforce, including the residency of its workers, and

submitted false information on its certified payroll reports to the City, with the intent to conceal

its these [sic] violations of the CRO requirements from the City.”). To some extent, this is borne

out by the contract themselves. It’s true, for example, that in each contract the provision setting

out the CRO requirements indicates that “[c]ertified payroll reports (U.S. Department of Labor

Form WH-347 or equivalent) must be submitted weekly to the Commissioner of the supervising

department” and that the forms “shall identify clearly the actual residence of every employee on

each submitted certified payroll.” See, e.g., City Compl. Ex. A at 33. And the payment procedure

under each contract did require JKCC to include copies of the certified payrolls and other

paperwork. Id. at 48. But the provisions addressing submission of the certified payrolls as a

component of requests for payment indicate that “[c]ertified payrolls are required to assure EEO




                                                18
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 19 of 57 PageID #:6353




compliance as well as wage compliance”—no mention of the CRO requirement is made in this

section. Id. at 48. In a later section titled “Payroll Canvass Reports,” however, the contract specifies

that JKCC “must submit to the Commissioner with each pay request a Payroll Canvass Reports

(PCR)” and makes clear that JKCC was required to submit PCRs “to indicate compliance with . .

. the Chicago Residency Ordinance requirements.” See, e.g., id. at 58. Neither Milazzo nor the City

mention “Payroll Canvass Reports” in their pleadings; there are no allegations that JKCC

submitted false or misleading PCRs. But, because the City specifically designates the PCRs as the

City’s method of monitoring compliance with the CRO over the life of each contract, the plaintiffs’

implied certification theory cannot rest on the mere submission of the inaccurate address

information in the certified payrolls.

                       c) Fraudulent Inducement

       The plaintiffs also argue that they have adequately plead presentment based on a fraudulent

inducement theory. The City alleges that it relied on JKCC’s misrepresentations about its intention

to comply with the CRO in deciding to award JKCC the relevant contracts, but that “[h]ad the City

known that these claims were false, the City would never have entered into the DWM Contracts

with JKCC.” See City Compl. at ¶¶ 87-88, 96-97. “[W]here a person procures a contract by fraud,

all claims under that contract are false for purpose of the FCA.” United States ex rel. McCarthy v.

Marathon Techs., Inc., No. 11 C 7071, 2014 WL 4924445, at *5 (N.D. Ill. Sept. 30, 2014); United

States ex rel. Grenadyor v. Ukranian Village Pharmacy, Inc., 772 F.3d 1102, 1105 (7th Cir. 2014)

(“If you say ‘I agree’ when you don’t agree, you’re making a false statement . . . Making a false

promise in order to obtain something of value is fraud.”). To allege fraud in the inducement, the

plaintiffs “need[] to alert [JKCC] with the necessary specificity of how it allegedly misrepresented

its compliance with a condition of payment in order to induce the government to enter into a

contract.” Prose, 17 F.4th at 741. “Claims of fraudulent inducement also require the plaintiff to


                                                  19
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 20 of 57 PageID #:6354




show that the defendant never intended to perform the promised act that induced the government

to enter the contract.” Id.; Grenadyor, 772 F.3d at 1105 (noting that, to the extent an initial promise

that leads to a contract is false, the falsity “would have to be deliberate in order for the False Claims

Act to apply”); United States ex rel. Main v Oakland City Univ., 426 F.3d 914, 917 (7th Cir. 2005)

(“But if the University knew about the rule [against paying capitation fees for recruiting students]

and told the Department [of Education] that it would comply, while planning to do otherwise, it is

exposed to penalties under the False Claims Act.”).

        Neither Milazzo nor the City has alleged with the required specificity facts supporting their

contention that JKCC did not intend to comply with the CRO at the times it formed the relevant

contracts with the City. The City alleges that “[i]n connection with the DWM Contracts, JKCC

agreed to observe and comply with all applicable federal, state, county and municipal laws,

statutes, ordinances and executive orders,” including the CRO. City Compl. at ¶¶ 87-88. Both

plaintiffs repeatedly assert that “JKCC did not intend to, and did not, comply with the residency

requirement.” See, e.g., Milazzo Second Am. Compl. at ¶¶ 9(a)-(f). And, in briefing on the

defendants’ motion to dismiss, the plaintiffs argue that “[t]he fact that Defendants carried out the

same fraudulent scheme over the course of multiple contracts with the City, which contained the

same Hiring Provisions, is strong evidence (and for the purposes of a motion dismiss [sic] must be

construed as evidence) that Defendants never intended to meet the conditions of payment in

subsequently awarded contracts.” Pls.’ Resp. Opp’n at 30.

        But as the Seventh Circuit observed in Grenadyor, conclusory allegations that JKCC

intended to violate the CRO requirements at the time it agreed to generally comply with “all

applicable federal, state, county and municipal laws, statutes, ordinances and executive orders” do

not adequately plead fraudulent inducement, even at the motion to dismiss stage. 772 F.3d at 1106




                                                   20
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 21 of 57 PageID #:6355




(“Missing from the complaint in this case are non-conclusory allegations that the pharmacy had

decided to pay kickbacks at the time it promised otherwise by signing the ‘I agree’ statement.”).

It’s possible, of course, that the plaintiffs are correct, and that JKCC never intended to comply

with the CRO, but the facts alleged must do more than establish the possibility of fraudulent intent;

they must make an inference of fraud plausible. Grenadyor, 772 F.3d at 1106 (“The requirement

of pleading fraud with particularity includes pleading facts that make the allegation of fraud

plausible.”).

       Contrasting Grenadyor with Prose illustrates the point. In Grenadyor, the Seventh Circuit

affirmed the dismissal of a fraudulent inducement claim under the FCA resting on a conclusory

allegation that the defendant pharmacy never intended to honor its certification. In order to

participate in a Medicare reimbursement program, the pharmacy certified that it would not make

kickbacks to its customers but that was not sufficient, the Seventh Circuit held, in the absence of

additional allegations “showing that the ‘I agree’ statement was false when the pharmacy made

it.” Grenadyor, 772 F.3d at 1105. In Prose, however, the Seventh Circuit reversed the dismissal

of a fraudulent inducement claim where it found the allegations that were missing in Grenadyor.

Specifically, in Prose the defendant Medicaid healthcare provider was required, as a condition of

receiving Medicaid reimbursement, to provide “Skilled Nursing Facility” services at nursing

homes covered by its contract. The pleadings alleged not only that the defendant did not intend to

provide those services, but that when it agreed to do so it knew that it could not do so because it

had no qualified personnel under employment or contract who could provide SNF services and

was doing nothing to try to fill the void. Prose, 17 F.4th at 738, 741-42. The complaint set forth

deposition statements by the defendant’s chief operating officer acknowledging that during the

contract negotiations in which it agreed to provide SNF services, the defendant’s “staff did not




                                                 21
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 22 of 57 PageID #:6356




have the ability or licensure to render [SNF] services. Prose, 17 F.4th at 742 (“Schoen

acknowledged that Molina did not have the personnel available to perform those services. The

complaint thus concludes that Molina did not and never intended to seek out another SNF service

provider. This sufficed to allege intent.”).

       No similar allegations have been made in this case. Neither Milazzo nor the City has

alleged that JKCC was categorically unable to comply with the CRO, based on the demographic

makeup of its workforce or any other constraints. The plaintiffs point only to the fact that the

defendants made the same promise, on which they failed to deliver, on each of the contracts at

issue, contending that repeated nonperformance evidences the defendants’ knowledge that they

would not comply with the CRO requirement. But notably in Grenadyor, the Seventh Circuit

rejected knowledge that future noncompliance was likely as a basis to infer intent not to comply

from the outset. 772 F.3d at 1106 (Defendant “may have believed that sooner or later … it might

have to yield, but that would be different from what is alleged in the complaint—that it ‘never had

any intention of keeping that agreement’”) (emphasis in Grenadyor). Such an inference, moreover,

would be particularly unwarranted where, as here, the facts alleged fail to suggest a plausible

reason why the defendant would have resolved not to perform as promised from the outset. Nothing

alleged in either plaintiff’s complaint suggests that it was beneficial to JKCC, financially or

otherwise, to flout the CRO’s requirements. Did JKCC have to pay Chicago residents higher

wages? Were the requisite skills and experience unavailable in the city? In the absence of

allegations from which one can plausibly infer that the defendants never intended to comply with

the CRO, the plaintiffs’ fraudulent inducement theory is inadequate to support liability under the

presentment prongs of the false claim statutes and the City’s ordinance.




                                                22
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 23 of 57 PageID #:6357




                   False Records or Statements Material to a False or Fraudulent Claim

       The plaintiffs’ second theory is that the defendants knowingly made, used, or caused to be

made or used, false records or statements material to a false or fraudulent claim. JKCC’s falsely

attested-to payroll records likely are false records or contain false statements—the defendants do

not appear to dispute this point. See Defs.’ Memo. Supp. at 29 (citing a California case that held

that weekly payroll reports “were records or statements made or used in support of” a defendant’s

requests for payment but were not themselves false claims). Because they have not adequately

plead JKCC’s submissions of “false or fraudulent claim[s]” for payment, however, the plaintiffs’

“false statement” claims also fail.

       That deficiency, however, would not similarly afflict the City’s claim under the Business

Preference Ordinance, which the plaintiffs press as a violation of the municipal False Statement

Ordinance, MCC § 1-21-010, et seq. Unlike the FCO, the FSO does not require presentment of a

claim for payment; rather, it proscribes the making of any “false statement of material fact to the

city … in connection with a bid, proposal, contract or economic disclosure statement ….” Id. at

1-21-010(a). The defendants offer a number of other arguments as to why the City’s claims under

the Business Preference Ordinance are not actionable, see Defs.’ Memo. Supp. at 16-19, but the

Court need not address them presently in view of its conclusion below that the City’s complaint

inadequately pleads the materiality of JKCC’s representations that it qualified for the Chicago

Business Preference. In any event, several of the defendants’ arguments are fact-based and cannot

appropriately be resolved on a motion to dismiss, see id. at 18-19 (arguing that JKCC “qualified

for the preference as defined in the contracts,” contrary to the City’s allegations; that the

requirements outlined in the complaint are different than the standard that governed JKCC’s

attestations actually submitted) or are breach of contract defenses, not an argument that the City




                                                23
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 24 of 57 PageID #:6358




has no claim for breach of contract, see id. at 17 (arguing that the definition of “Chicago business”

is ambiguous and so the provision is unenforceable).

                   “Reverse Claim”

       The plaintiffs’ third false claim theory is that the defendants knowingly made or used false

records or statements material to an obligation to pay money to the government, or otherwise

knowingly concealed or knowingly and improperly avoided or decreased such an obligation. The

plaintiffs’ claim under this subsection of the relevant statutes—Section 3729(a)(1)(G) for the

federal False Claims Act, Section 175/3(a)(1)(G) of its state counterpart, and Section 1-22-020(7)

of the Chicago municipal ordinance—is not clearly spelled out, but seemingly rests on the

contracts’ quantification of specific damages to the City for each percent that JKCC fell below the

contracts’ requirements for total work hours that must be performed by City residents. Under this

“reverse claim” approach, JKCC’s alleged obfuscation of the actual amount of work done by City-

and non-City residents, respectively, amounted to a knowing and improper concealment or

avoidance of an obligation to pay money to the government.

       An entity is liable for a “reverse claim” if it conceals, avoids, or makes false statements to

conceal or avoid an “obligation” to pay or transmit money or property to the government. The

federal and state false claim statutes define an “obligation” to encompass, in relevant part,

“established dut[ies], whether or not fixed, arising from an express or implied contractual, grantor-

grantee, or licensor-licensee relationship . . . or from the retention of any overpayment.” 31 U.S.C.

§ 3729(b)(3); 740 ILCS 175/3(b)(3). Several courts have explained that “it is . . . black-letter law

that one does not incur reverse-false-claim liability by violating, and affirmatively concealing

one’s violation of, a statute, regulation, or contract that merely authorizes the Government to levy

certain fines and penalties.” United States ex rel. Landis v. Tailwind Sports Corp., 160 F. Supp. 3d

253, 270 (D.D.C. 2016); United States ex rel. Kasowitz Benson Torres LLP v. BASF Corp., 285 F.


                                                 24
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 25 of 57 PageID #:6359




Supp. 3d 44, 53-54 (D.D.C. 2017) (concluding that defendants’ failure to report substantial risk

information and pay penalties to the EPA did not create “reverse claim” liability, because “[a]n

unassessed, contingent penalty is not an FCA ‘obligation’ subject to suit” under that provision).

       But those cases primarily address a situation where the defendant’s violation would entitle

a governmental entity to assess civil penalties through some separate administrative process. In

this case, JKCC’s contract with the City contained a penalty clause that, as written, operated more

like a liquidated damages provision—the clause made clear to JKCC, at the time of contracting,

the exact cost of noncompliance and instructed that the City shall be considered damaged in that

amount if the fifty percent minimum is not satisfied. Several courts have seized on this distinction,

suggesting that non-discretionary contract-based liquidated damages do constitute an “obligation”

for “reverse false claim” purposes. See, e.g., United States ex rel. Keen v. Teva Pharms. USA Inc.,

No. , 2017 WL 36447, at *5-6 (N.D. Ill. Jan. 4, 2017) (United States ex rel. Boise v. Cephalon,

Inc., No. 08-287, 2015 WL 4461793, at *6 (E.D. Pa. July 21, 2015) (denying motion to dismiss

“reverse false claim” predicated on contract-based stipulated damages, because the defendant’s

“contractual obligation to pay the government is an ‘established duty’ as contemplated by

§ 3729(b)(3)); Ruscher v. Omnicare Inc., No. 4:08-cv-3396, 2014 WL 4388726, at *5 (S.D. Tex.

Sept. 5, 2014) (“[T]he Fifth Circuit in Marcy explicitly acknowledged that obligations arising out

of a contract were different from the statutory fines and penalties that it held were insufficient to

state a claim under § 3729(a).”). Cf. Am. Textile Mfs. Inst., Inc. v. The Limited, Inc., 190 F.3d 729,

741 (6th Cir. 1999) (affirming dismissal of a false claims act “reverse claim” count where the

alleged obligation would arise “only after administrative investigation and a decision to notify the

defendant that the government seeks payment of the liquidated damages it believes are due”);

Sturgeon v. Pharmerica Corp., 438 F. Supp. 3d 246, 278-79 (E.D. Pa. 2020) (noting that some




                                                 25
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 26 of 57 PageID #:6360




cases “have concluded that the contractual nature of the stipulated penalties by itself makes them

‘obligations’” while other courts have “looked beyond the fact of the contract to its terms,

concluding that where stipulated penalties are contingent on the exercise of governmental

discretion, they are not ‘obligations’”); United States ex rel. Howard v. Caddell Const. Co., No.

7:11-cv-270-FL, 2021 WL 1206584, at *32 (E.D.N.C. Mar. 30, 2021) (holding that the plaintiff’s

§ 3729(a)(1)(G) failed as a matter of law because the defendants’ breach did not “result in an

automatic obligation to pay separate liquidated damages, but rather trigger[ed] an administrative

process for determining liquidated damages, if any”). Unlike in other cases, the contract provisions

at issue here do not just “describe a possible future duty” that “are more akin to regulatory fines

than to typical contractual liquidated damages”—JKCC’s obligation under each contract to pay

damages for a shortfall in total hours worked by City workers was an “established duty” that did

not depend on an exercise of governmental discretion. Sturgeon, 438 F. Supp. 3d at 279. As such,

it plausibly constitutes the type of obligation described in § 3729(a)(1)(G) and the state and

municipal analogs.

        The Court will not resolve this question, however, because neither party has addressed it.

Although the defendants moved to dismiss “all claims asserted by Plaintiff-Relator Angelo

Milazzo . . . and Plaintiff City of Chicago,” Defs.’ Memo. Supp. at 1, they failed to offer any

developed argument to support dismissal of the plaintiffs’ claims under the reverse claim statutes

and ordinance. [cite] It might be argued that the plaintiffs “waived the waiver” by failing to assert

waiver in response to the defendants’ motion, See generally Pls.’ Resp. Opp’n (failing to mention

“reverse claims” at all). [cite], it could also be said that the defendants waived any waiver by the

plaintiffs by failing to assert it in their reply brief. In short, there might be a viable challenge to the

plaintiffs’ “reverse claim” theory, which is largely ignored in the complaints, but it is, at bottom,




                                                    26
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 27 of 57 PageID #:6361




the defendant’s responsibility to develop and set forth the arguments for dismissing a complaint

for failure to state a claim. They have not offered any specific argument addressing the reverse

claim theory set forth in the complaints, however, and so have no cause to complain of the denial

of their motion as to that theory. This failure does not save the plaintiffs’ presentment claim,

however, because, as discussed below, the Court concludes that the complaints fail to plausibly

allege materiality.

       C.      Milazzo and the City Have Failed to Adequately Plead Materiality

       The defendants have also moved to dismiss on the basis that Milazzo and the City have not

adequately pleaded that JKCC’s alleged misrepresentations regarding its compliance with the CRO

or eligibility for the Chicago Business Preference were material. Materiality is an element of the

plaintiffs’ false claims and false statement causes of action. A party’s “misrepresentation about

compliance with a statutory, regulatory, or contractual requirement must be material to the

Government’s payment decision in order to be actionable under the False Claims Act.” Escobar,

579 U.S. at 192. “Material” is statutorily defined to mean “having a natural tendency to influence,

or be capable of influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).

But the statute’s materiality requirement “descends from ‘common-law’ antecedents,” and

“[u]nder any understanding of the concept, materiality ‘look[s] to the effect on the likely or actual

behavior of the recipient of the alleged misrepresentation.’” Escobar, 579 U.S. at 193. Because it

is not an “all-purpose antifraud statute,” the FCA’s materiality standard is a “demanding” one—

the Government’s decision to designate compliance with a particular statutory, regulatory, or

contractual requirement as a condition of payment “is relevant, but not automatically dispositive”

in evaluating materiality, but it is not “sufficient for a finding of materiality that the Government

would have the option to decline to pay if it knew of the defendant’s noncompliance.” Id. at 194.




                                                 27
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 28 of 57 PageID #:6362




       In the defendants’ view, the plaintiffs’ allegations “provide[] no indication ‘that the

Government’s decision to pay would have been different had it known of the alleged’

misrepresentations.” Defs.’ Memo. Supp. at 21-22, 24-25. They argue that the plaintiffs have not

alleged “that violations of the CRO . . . routinely lead the City to decline to pay these types of

claims,” and note, instead, that “[e]ven after the City learned about the alleged fraud by the filing

of the Relator’s Complaint on April 24, 2017, the City proceeded to close out jobs with JKCC.”

Id. at 24-25. The plaintiffs argue that the City uses residency requirements in its contracts because

such requirements “serve important social goals for the City, including that City residents have the

opportunity to work on projects commissioned and funded by the City” and that the “City takes

residency requirements so seriously that it routinely fires City employees who violate those

policies.” Milazzo Am. Compl. at ¶¶ 10-11. As such, they contend that “[h]ad the City known that”

JKCC’s alleged misrepresentations regarding their compliance with the CRO were false, the City

“would have terminated the DWM Contracts with JKCC and/or would have refused to pay JKCC’s

false and fraudulent invoices.” City Compl. at ¶ 96. And Milazzo and the City maintain that these

allegations suffice at the motion to dismiss stage, because the question of “the ‘likely or actual

behavior’ of the City” in response to the fraud “is inherently a fact question”; they argue that

factors such as when the City learned of the alleged fraud, whether the City continued to pay JKCC

after that point, how the City generally responds when contractors fail to comply with the CRO,

the centrality of the Hiring Provisions to the City’s contracting goals, and what information is

recordable in the City’s online reporting system are all factual questions that cannot be answered

on the pleadings and, as a result, should not be considered at this stage. Pls.’ Resp. Opp’n at 25.

       As an initial matter, the plaintiffs’ argument that materiality is a fact question inappropriate

to consider on a motion to dismiss is unconvincing. The Supreme Court considered and rejected




                                                 28
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 29 of 57 PageID #:6363




this argument in Escobar, reasoning that “[t]he standard for materiality . . . is a familiar and

rigorous one” and that “False Claims Act plaintiffs must also plead their claims with plausibility

and particularity under Federal Rules of Civil Procedure 8 and 9(b) by, for instance, pleading facts

to support allegations of materiality.” Escobar, 579 U.S. at 195 n.6. Since Escobar, courts in this

district have dismissed FCA claims at the motion to dismiss stage where a relator or plaintiff has

failed to offer more than “conclusory allegations” about the materiality of a misrepresentation to

a government payment decision. See, e.g., United States v. Molina Healthcare of Ill., Inc., No. 17

C 6638, 2019 WL 3555336, at *3 (N.D. Ill. July 31, 2019) (granting a motion to dismiss because

“[e]ven if Relator’s Complaint had sufficient particularity, it would separately fail the FCA’s

materiality requirement”); Illinois ex rel. Strakusek v. Omnicare, Inc., No. 19 C 7247, 2021 WL

308887, at *14 (N.D. Ill. Jan. 29, 2021) (dismissing counts under the IFCA because Relator failed

to “connect [] [his assertions of materiality] to factual allegations about how officials in the Illinois

Medicaid program respond” to alleged misrepresentation). To the extent that the parties disagree

about the accuracy of the City’s or Milazzo’s factual allegations, the Court assumes their truth, but

that does not relieve the plaintiffs from their obligation to make factual allegations plausibly

supporting materiality in the first place. See, e.g., Prose, 17 F.4th at 743 (“The complaint must

include allegations that show that the omission significantly affected the government’s actions.”).

        The plaintiffs have not satisfied that obligation here. The Seventh Circuit has emphasized

that, post-Escobar, it is not enough for a false claims plaintiff “simply to say that the government

required compliance with a certain condition for payment”; instead, “[t]he facts must indicate that

the government actually attaches weight to that requirement and relies on compliance with it.”

Prose, 17 F.4th at 740. The parties do not dispute that JKCC’s contracts included potentially

“substantial penalties for non-compliance with the residency requirements.” Pls.’ Resp. Opp’n at




                                                   29
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 30 of 57 PageID #:6364




26. But neither Milazzo nor the City—which is, as the plaintiffs point out, “the entity controlling

payment under the DWM Contracts” and therefore “in the best position to know how the City

would have acted if it had known that Defendants were committing fraud”—allege that the CRO

compliance penalty provisions have ever been enforced, let alone that they are enforced routinely

or in most cases where a contractor is ultimately non-compliant. See, e.g., Escobar, 579 U.S. t 194-

95 (“[P]roof of materiality can include, but is not necessarily limited to, evidence that . . . the

Government consistently refuses to pay claims in the mine run of cases based on noncompliance

with the particular statutory, regulatory, or contractual requirement.”). Milazzo offers only the

observations that “[t]he City uses residency requirements in many areas of City government”; that

“the requirements serve important social goals for the city, including that City residents have the

opportunity to work on projects commissioned and funded by the City”; and that the City

“routinely fires City employees who violate those policies.” Milazzo Second Am. Compl. at ¶¶ 11-

12. And the City, the entity with the most insight into how non-compliance is addressed, merely

alleges that “[had] the City known that [JKCC’s alleged misrepresentations] were false, the

City . . . would have terminated the DWM Contracts with JKCC and/or would have refused to pay

JKCC’s false and fraudulent invoices.” Pl.’s Resp. Opp’n at 26, citing City Compl. at ¶ 97.

       These are the type of conclusory allegations of materiality that Escobar held to be

inadequate. Escobar, 579 U.S. at 193-95. Milazzo and the City have failed to connect their

materiality arguments to fact allegations about how officials in the City department monitoring

CRO compliance respond to non-compliant contractors. “Such bald assertions of materiality

amount to no more than ‘threadbare recitals of the elements of a cause of action’ and are not

sufficient under Rule 8, let alone 9(b).” Nedza v. American Imaging Management, Inc., 2019 WL

1426013, at *7 (N.D. Ill. Mar. 29, 2019). That there are contractually defined penalties for non-




                                                30
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 31 of 57 PageID #:6365




compliance is not, standing alone, sufficient; “[i]n its discussion of materiality in Escobar, the

Supreme Court considered and rejected sweeping contractually-imposed materiality irrespective

of whether payment is actually contingent on compliance.” Id.1

       The City’s complaint has the same shortcomings with respect to the materiality of JKCC’s

alleged misrepresentations regarding its eligibility for the Chicago Business Preference. Five of

the six contracts at issue “allowed prospective bidders to apply for the Chicago Business

Preference” and JKCC “submitted an affidavit on each” of those five contracts “attesting that

JKCC was eligible for the Chicago Business Preference because it was a City-based business.”

City Compl. at ¶¶ 69-70. The City alleges that each statement made in those affidavits was false:

that JKCC is not and never has been a City-based business; that JKCC is not a business located

within the City’s corporate limits; and that JKCC did not maintain, at the relevant times, most of

its regular full-time workforce within the City. See id. at ¶¶ 72-80. But beyond stating that “[s]ince

2009, the City has paid approximately $197,177,866.00 to JKCC under the DWM Contracts,” id.

at ¶ 119, and indicating that there is a “bid preference” to qualified City-based businesses, id. at

¶ 67, the City pleads no facts supporting its contention that JKCC’s alleged misrepresentation was

material to its decision to award JKCC the contracts at issue. As described by the City, the bid

preference gives prime contractors an advantage only in narrow circumstances—when a City-



       1
          The defendants also contest the accuracy of the City’s assertion that it would have stopped
payment to JKCC on the relevant contracts had it known of JKCC’s alleged misrepresentations, in
light of the fact that “[e]ven after the City learned about the alleged fraud by the filing of Relator’s
Complaint on April 24, 2017, the City proceeded to close out jobs with JKCC.” Defs.’ Memo.
Supp. at 25 & n.7 (urging that “[a]t a minimum, claims based on submissions after April 24, 2017
must be dismissed”). That argument, however, relies on information outside the pleadings; the
allegations of the City’s complaint on which this argument is based (¶¶ 24-25) allege only when
the contracts ended, not how they ended or whether there was any attempt to enforce the Business
Preference penalties. While that information would be probative, it is not included in either of the
complaints.


                                                  31
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 32 of 57 PageID #:6366




based business submits the second-lowest bid for a project behind a non-City-based business. But

here, the City does not plead, even in conclusory terms, that JKCC was awarded the contracts at

issue through the application of this bid preference, or that JKCC’s representations that it was a

City-based business otherwise impacted its decision to award it the contracts in this case. For all

we know, JKCC was the low bidder on each of the contracts and received no benefit at all from

the preference. As such, its allegations of materiality are entirely insufficient.

       The materiality analysis to this point has focused on the likely impact of JKCC’s alleged

misrepresentation on the City’s payment decisions, as the source of funding for many of the

contracts at issue and the entity interacting directly with JKCC. But the Court also requested

supplemental briefing to aid its analysis of whether, to adequately plead and prevail on his federal

false claim counts, Milazzo needs to allege that the federal government would likely have changed

its payment decisions if it knew that JKCC was violating the CRO—i.e., that JKCC’s

representations regarding its compliance with the CRO were material to the federal government

directly, rather than merely material to the payment decisions of a federal grantee. See Minute

Entry, ECF No. 95.

       In Escobar, the Supreme Court endeavored to “clarify how th[e] materiality requirement

should be enforced,” and instructed parties and courts that the “demanding” standard “look[s] to

the effect on the likely or actual behavior of the recipient of the alleged misrepresentation” 579

U.S. at 193, citing 26 R. LORD, WILLISTON ON CONTRACTS § 69.12, p. 549 (4th ed. 2003). In most

federal false claims cases, that standard is straightforward enough to apply, because the federal

government is both the source of the funds being distributed and the recipient of the alleged

misrepresentation. But the materiality inquiry is potentially more complicated when the federal

government is the source of the allegedly fraudulently secured funds but the alleged




                                                  32
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 33 of 57 PageID #:6367




misrepresentation is made to a third-party—and particularly in a case like this one, where the

misrepresentation may go to the “essence of the bargain” between the third party and the defendant

based on the third party’s idiosyncratic preferences but may have no bearing on the federal

government’s funding decision.

       The legal question of whether a relator is required to plead the materiality of alleged

misrepresentations to both the municipal government (or other third-party administering federal

funds) and the federal government seems to be one of first impression in this circuit and an issue

that has not been widely addressed by other courts. The plaintiffs argue that “as a matter of law,

alleged fraud on a municipal contract partially funded by the federal government is material to the

federal government if it is material to the municipal government.” Pls.’ Suppl. Br. 6, ECF No. 96.

The defendants, on the other hand, urge that the federal false claims statute “does not apply to

fraud against any federal grantee,” that there must be a “sufficient nexus between the alleged fraud

and the government funds,” and that Milazzo has not offered “any factual allegations to support a

claim that the violation of the CRO”—which the defendants characterize as “further[ing] the

parochial interests of the City, with no discernible federal interest present”—“was material to the

federal government’s funding decision.” Defs.’ Suppl. Br. 3-4, ECF No. 97, citing Garg v. Covanta

Holding Corp., 478 F. App’x 736, 741 (3d Cir. 2012). The defendants reject the notion that it is

“sufficient [under the federal false claims act] merely to allege that failure to adhere to the CRO

was material to the City of Chicago” and emphasize that, though “the claim need not be made

directly to the federal government” under the FCA, the claim “must at least form the basis on

which the federal monies are received.” Id. at 5.

       In support of its argument that a contractual term is per se material under the federal False

Claims Act if the entity administering the disbursement of federal funds deems it material, the City




                                                33
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 34 of 57 PageID #:6368




points to Escobar and other cases that analyzed materiality with a focus on the likely impact on

the payment decisions of the intermediary-recipient of the alleged misrepresentation. See Pls.’

Suppl. Br. 4-8. But those cases are distinguishable from this one in at least one highly significant

respect: in each, the misrepresentation at issue related either to the defendant’s compliance with

federal statutes or regulations or to state regulations bearing directly on the nature of the good or

service for which the federal government was paying. In those cases, there was no question that

the federal government would consider the defendants’ misrepresentations regarding their

compliance just as material to its funding decisions as the direct recipients of the alleged

misrepresentations. See, e.g., United States ex rel. Escobar v. Univ. Health Servs., Inc., 842 F.3d

103, 108, 110-11 (1st Cir. 2016) (alleged misrepresentations pertained to the defendant’s

compliance with MassHealth’s licensing and supervisory requirements for mental health facilities,

and Medicaid was billed for care and medications provided and prescribed by individuals without

the proper licenses to do either); United States ex rel. Garbe v. Kmart Corp., 824 F.3d 632, 635-

36 (7th Cir. 2016) (pre-Escobar decision in which the relator alleged that Kmart misrepresented

that it was charging Medicare Part D beneficiaries the “usual and customary” price, as required

and defined by federal Medicare regulations); Kelly v. Denault, 374 F. Supp. 3d 884, 891-92 (N.D.

Cal. 2018) (defendant’s misrepresentations to the county housing authority regarding compliance

with state and local law undermined HUD’s purpose in federally funding the housing voucher

program, which, per federal regulation, was to ensure that “eligible families can afford decent,

safe, and sanitary housing” and implicated additional federal regulations prohibiting side-

payments, overcharges, and federal approval of tenancy if rent is unreasonable); United States ex

rel. Int’l Bhd. of Elec. Workers Local Union No. 98 v. Farfield Co., 438 F. Supp. 3d 348, 362 (E.D.




                                                 34
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 35 of 57 PageID #:6369




Pa. 2020) (defendant’s alleged misrepresentations pertained to its compliance with the federal

Davis-Bacon Act governing worker classifications, prevailing wage rates, and fringe benefits).

       The statutory language and legislative purpose both lend support to the idea that a federal

FCA plaintiff must plead that the alleged fraudulent misrepresentation is material to the federal

government’s funding decisions. First, the statutory language reinforces the notion that the federal

government disburses funds for a particular purpose; its objectives must be considered when

evaluating whether a fraudulent misrepresentation goes to the “very essence of the bargain”

between the federal government and the entity receiving funds to carry out its purpose. Escobar,

579 U.S. at 193 n.5. The federal false claims act reaches false claims “made to a contractor,

grantee, or other recipient” if the federal government has provided or will reimburse the funds and

“if the money or property is to be spent or used on the Government’s behalf or to advance a

Government program or interest.” 37 U.S.C. § 3729(b)(2)(A)(ii). So, even when federal funds are

disbursed through an intermediary, as here, the federal government’s funding decision was

ultimately made to further its own programs or interests; those interests may or may not align with

the intermediary’s, but the federal government’s objectives and priorities for the use of that money

cannot be disregarded in a materiality analysis simply because the federal government is not

distributing the money directly.

       Second, the statute’s legislative history and purpose are clear—the statute is concerned

with preventing loss to the federal government and treasury, not on punishing all fraud involving

federal funds. Congress passed the federal False Claims Act to “stop [the] plundering of the public

treasury” that contractors had engaged in through the “bill[ing] for nonexistent or worthless goods,

charg[ing of] exorbitant prices for good delivered, and general[] robb[ery] in [the government’s]

purchasing [of[ the necessities” for running an effective government. United States v. McNinch,




                                                35
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 36 of 57 PageID #:6370




356 U.S. 595, 599 (1958). In amending the federal statute to reach false claims made to government

contractors, grantees, or other funding recipients, the Senate rejected the view adopted by some

courts that “once the United States had made the grant to the State, local government unit, or other

institution, it substantially relinquishes all control over the disposition of the money.” S. REP. NO.

99-345, at 21 (1986). Instead, it posited that false or fraudulent claims “submitted to State, local,

or other private programs funded in part by the United States” may threaten the federal treasury in

much the same way as false claims submitted directly to the federal government for payment—at

least in those cases “where there is significant Federal regulation and involvement.” Id. at 22.

Nonetheless, the statute is not, and never has been, a tool “designed to reach every kind of fraud

practiced on the Government” or government funds, McNinch, 356 U.S. at 599, but only

encompasses those claims that, if paid, “would ultimately result in a loss to the United States.” S.

REP. NO. 96-615, at 4 (1980).

       In line with this analysis, the courts that have addressed this issue have squarely rejected

the argument that the only relevant question was the materiality of the alleged fraudulent

misrepresentations to third party rather than to the government. In United States ex rel. Petratos v.

Genentech, Inc., the Third Circuit concluded that “since the Government decides on payment . . . it

is the Government’s materiality decision that ultimately matters” and observed that, “because the

False Claims Act was passed to protect the federal treasury,” “it would make little practical sense

to give [an intermediary’s] materiality determinations dispositive weight.” 855 F.3d 481, 489-92

(3d Cir. 2017) (characterizing the relator’s attempts to focus the court’s “inquiry solely on the

[intermediary’s] materiality determination,” as “tr[ying] to pass off restyled causation arguments

as proof of materiality”); see also United States ex rel. Freedman v. Bayada Home Health Care,

Inc., No. 3:19-cv-18753-FLW-ZNQ, 2021 WL 1904735, at *8-9 (D.N.J. May 12, 2021) (“Because




                                                 36
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 37 of 57 PageID #:6371




[the relator] has not pled that compliance with the [provisions in the Request for Contracting

Proposals] or its sister state regulations regarding lobbying fees goes to the essence of his

relationship with Medicare, he has not plausibly alleged materiality in the sense of the FCA.”) And

even the plaintiffs’ own formulation of their argument—that an alleged misrepresentation “is

material to the federal government if it is material to the municipal government” or other grantee—

implicitly concedes that the weight the federal government attaches to an alleged misrepresentation

does matter, though Milazzo and the City would be able to dodge the issue with their proposed per

se rule imputing the grantee’s materiality assessment to the federal government. Pls.’ Suppl. Br. at

6. For those reasons, the Court concludes that where, as here, the allegedly fraudulent

misrepresentations were made to a to a “contractor, grantee, or other recipient” disbursing federal

funds under Section 3729(b)(2)(ii), a relator must plead that the misrepresentations are material to

the federal government’s funding decision as well as those of the contractor, grantee, or other

funding recipient.

       Finally, as a factual matter, it appears that the City’s local policy goals—accomplished

through incorporation of the CRO requirements into its public works contracts—and the federal

government’s policy goals—as outlined in the provisions on Section 3 compliance—may be in

conflict. See City Compl. Ex. F at 125-26. In this case, HUD funded the City of Chicago

Department of Water Management’s “Augusta Boulevard Sewer Improvement” project through a

“Community Development Block Grant.” Id. at 123. According to the additional HUD CDBG-DR

special funding conditions, JKCC “agree[d] to comply with HUD’s regulations in 24 CFR part

135.” Id. at 126. Section 3 of the Housing and Urban Development Act of 1968 aims to “ensure

that employment and other economic opportunities generated by HUD assistance or HUD-assisted

projects covered by section 3, shall, to the greatest extent feasible, be directed to low- and very




                                                37
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 38 of 57 PageID #:6372




low-income persons, particularly persons who are recipients of HUD assistance for housing.” Id.

City residency is not synonymous with the need for housing assistance, so the City’s complaint

tells us nothing about whether this requirement is in conflict with the City’s residency goals,2 and

the potential for conflict between the goals of the federal government and the City undermines the

plaintiffs’ contention that “alleged fraud on a municipal contract partially funded by the federal

government is material to the federal government if it is material to the municipal government.”

Pls.’ Suppl. Br. at 6.

        In sum, because the plaintiffs have failed to adequately plead that JKCC’s allegedly

fraudulent misrepresentations regarding their compliance with the CRO and their eligibility for the

Chicago Business Preference were material, Milazzo’s federal, state, and municipal false claims

counts (Counts I through VI) and the City’s municipal false claims and false statement counts

(Counts I and II) cannot survive the defendants’ motion to dismiss.

        D.      The City’s Allegations against Kennedy as an Individual Are Insufficiently
                Particularized as to His Role in the CRO Scheme

        Joel Kennedy also argues that the allegations against him, in his individual capacity, are

inadequate to survive the particularized pleading requirements in Rule 9(b). Kennedy contends

that the “City’s Complaint lacks a single assertion about [his] purported role in the scheme” and

that the City points to “only three assertions regarding Kennedy in its entire complaint: (1) that he

is the President and owner of JKCC; (2) Relator and Mike Patti reported to him; and (3) ‘JKCC

committed the fraud and other violations alleged herein through, at a minimum, its senior



        2
         For example, for projects like the Augusta Boulevard Sewer Improvement project, section
3 compliance is achieved through the contractor’s employment of Section 3 workers to complete
“25 percent or more of the total number of labor hours worked by all workers” on the project. U.S.
Dep’t of Housing & Urban Dev., Frequency Asked Questions for Section 3 (Mar. 25, 2021)
(available at https://www.hud.gov/sites/documents/11SECFAQS.PDF).


                                                 38
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 39 of 57 PageID #:6373




employee, Michael Patti, its President and owner Kennedy, and/or its other officers.’” Defs.’

Memo. Supp. at 34, citing City Compl. at ¶¶ 8, 58, 60, and 56. In the City’s view, the who, what,

when, where, and how of the fraud alleged is adequately described—particularly here, where, it

contends, the details of the fraud are “within the defendant’s exclusive knowledge.” Pls.’ Resp.

Opp’n at 36-37. The City also points to additional allegations such as the “specifics of Defendants’

residency fraud scheme . . . and, similarly, the specifics of Defendants’ fraud regarding the

Chicago Bid Preference,” that it maintains are “well-pled allegations . . . calculated to give

reasonable notice to JKCC and Kennedy of their ‘purported role in the scheme.’” Id.

       The Court agrees that the City has not pleaded, with sufficient particularity, Kennedy’s

individual role in the alleged fraudulent CRO scheme. As the defendants note, Kennedy’s role as

owner and supervisor is not, standing alone, sufficient to adequately allege his involvement in

fraud carried out by his subordinates, even when those subordinates are acting within the scope of

their employment. See, e.g., United States ex rel. Bender v. N. Am. Telecomms., 686 F. Supp. 2d

46, 53-54 (D.D.C. 2010) (explaining that an FCA complaint must make specific allegations against

individual defendants, rather than against them as a group, and concluding that “it is not enough

for a complaint to refer generally to ‘management’. . . without explaining the role individual

defendants played in the fraud”). But, contrary to Kennedy’s characterization, those are not the

only specific allegations offered against him—the City makes additional allegations that

“Defendants” “regularly omitted workers who resided outside of the City from certified payrolls,”

City Compl. at ¶ 44, “submitted false City addresses for non-City workers on the DWM contracts,”

id. at ¶ 49, and “submitted false information about which of JKCC’s employees worked on which

of the DMW contracts,” id. at ¶¶ 52-53. “Defendants” includes Joel Kennedy, and at this point,




                                                39
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 40 of 57 PageID #:6374




the Court is obligated to accept the City’s allegations that Kennedy was personally involved in the

fraudulent conduct described as true.

       Had the City included only the allegations described above, its claims against Kennedy

pertaining to the alleged CRO fraud may have survived, even under the heightened Rule 9(b)

pleading standard. However, the City undermined its own allegations with the internal

inconsistencies within its complaint. For example, after describing, in detail, the alleged fraudulent

scheme, the City alleges that “JKCC committed the fraud and other violations alleged herein

through, at a minimum, its senior employee, Michael Patti II . . . , its President and owner Kennedy,

and/or its other officers, directors, employees, agents, and/or personnel.” Id. at ¶ 56 (emphasis

added). This allegation seems to concede that Kennedy may have not been personally involved in

the commission of the fraud at all; the allegation allows for the possibility that Patti carried it out

with the help of unnamed JKCC officers and employees other than Kennedy. That inconsistency

is compounded by the City’s allegations that Kennedy is liable because he “knew or should have

known” of the falsity of JKCC’s payroll certifications, Compl. at ¶ 65, and their argument that

Kennedy was involved because he either “directly supervised the employee responsible for

submitting the falsified payroll reports to the City—Michael Patti (“Patti”)—or directly supervised

Patti’s direct supervisor.” Pls.’ Resp. Opp’n at 36, citing City Compl. at ¶¶ 58, 61. A business

owner’s reckless disregard for the truth or falsity of claims submitted by his business may warrant

false claims liability. See, e.g., United States v. Stevens, 605 F. Supp. 2d 863, 869 (W.D. Ky. 2008)

(recognizing that an individual employee’s actions in “deliberate ignorance or reckless disregard

of the truth or falsity of the information is sufficient to prove knowledge” and that “in the

healthcare setting, a physician demonstrates ‘reckless disregard’ when he fails to take steps to

ensure that his clinic’s claims for government reimbursement are accurate”). But “should have




                                                  40
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 41 of 57 PageID #:6375




known” is the language of negligence, not fraud; if Kennedy lacked knowledge because he was

careless rather than reckless or willfully blind, he committed no fraud. The allegations that

Kennedy “knew or should have known” about fraud carried out by his subordinates, moreover, are

conclusory; the City has not plead facts suggesting that Kennedy was either aware of and directing

the implementation of the CRO scheme or aware and turning a blind eye to it.

       With these conflicting accounts of Kennedy’s personal involvement in the fraudulent

conduct alleged, the complaints’ other deficiencies, such as allegations about when, specifically,

Kennedy omitted names or falsified addresses in the nine-year span encompassed by the contracts

in the complaint, become more concerning. The City has certainly described the “who, what, when,

where, and how” of a fraudulent scheme perpetrated by JKCC; what remains unclear is how, if at

all, Kennedy was personally involved in executing the CRO scheme.

       The City’s allegations regarding Kennedy’s involvement in the Chicago Business

Preference scheme, by contrast, are adequate under Rule 9(b). The plaintiffs allege that Kennedy

personally signed each of the affidavits submitted in support of JKCC’s status as a City-based

business. See City Compl. Ex. G (each “Affidavit of Chicago Business” requesting JKCC’s

consideration for the Chicago business preference was both signed by Kennedy and sworn by

Kennedy to a notary public). Should the City replead or continue to pursue its claims predicated

on the Chicago Business Preference, its description of Kennedy’s role in the scheme will suffice

under Rule 9(b).

       E.      JKCC’s Other Arguments for Dismissal Fail

                   JKCC’s Arguments Regarding the Constitutionality of the Chicago Residency
                   Ordinance and Chicago Business Preference Cannot Be Resolved on a Motion
                   to Dismiss.

       As an initial matter, the defendants argue that both the Chicago Residency Ordinance and

the Chicago Business Preference are unconstitutional—therefore, they argue, the City and Milazzo


                                               41
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 42 of 57 PageID #:6376




cannot predicate their false claim, false statement, breach of contract, or consumer fraud claims on

the defendants’ alleged misrepresentations regarding its compliance with the City’s ordinances or

on JKCC’s noncompliance itself. Defs.’ Memo. Supp. at 15-16. However, the defendants’

challenge to these provisions under Article IV’s Privileges and Immunities Clause are not

appropriately resolved on a motion to dismiss.

       The Chicago Residency Ordinance and the Chicago Business Preference prioritize and

incentivize the utilization of City-based businesses and City residents in public works contracts.

The Chicago Residency Ordinance, MCC § 2-92-330, requires that at least fifty percent of the total

number of hours worked on City contracts valued at more than $100,000 be performed by city

residents and at least 7.5% of the total number of work hours be performed by project area

residents.3 This requirement was incorporated into each of JKCC’s contracts with the City, as

required by the ordinance. MCC § 2-92-330(b) (“Implementation of the requirements established

in subsection (a) of this section will be achieved by including in contracts and subcontracts

described therein the following language . . . .”); see, e.g., City Compl. Exs. A-E at 32-33

(contractual language incorporating the CRO’s requirements), City Compl. Ex. F. at 35-36 (same).

The City warned that “[g]ood faith efforts on the part of the contractor to provide utilization of

actual Chicago residents shall not suffice” and the parties agreed that for “each percentage of

shortfall toward the stipulated residency requirement,” the contractor would surrender to the City

“1/20 of 1 percent (.05%), 0.0005, of the approved contract value.” See, e.g., City Compl. Ex. A.

at 33. The Chicago Business Preference similarly prioritizes Chicago-based businesses; if a non-

City business submits the lowest bid for a City contract, the ordinance directs the Chief


       3
         The ordinance defines “city residents” to mean “persons domiciled within the city” and
“project area residents” to mean “persons domiciled within that part of the city designated as the
project area in the information for bidders issued by DPS.” MCC § 2-92-330(a-1).


                                                 42
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 43 of 57 PageID #:6377




Procurement Officer to award the contract to a City-based business if its bid falls within two

percent of the lowest bid. See, e.g., City Compl. Ex. A at 101.

       The defendants urge that both ordinances unconstitutionally discriminate against out-of-

state residents, relying heavily on the Supreme Court’s analysis of a similar residency ordinance

enacted by the city of Camden, New Jersey. See United Bldg. & Const. Trades Council of Camden

Cty. & Vicinity v. Mayor & Council of City of Camden, 465 U.S. 208 (1984) (“Camden”). The

defendants argue that, as in Camden, the residency ordinance and business preference implicate

Article IV’s Privileges and Immunities Clause and can only be upheld if the City shows a

“substantial reason” for the difference in treatment between in-state (or in-city) and out-of-state

residents. Defs.’ Memo. Supp. at 12. The defendants further insist that the City cannot adequately

justify either ordinance, and that the City’s failure “even to put forth a non-discriminatory reason

for the CRO” warrants both an “assess[ment of] the facial invalidity of the ordinance,” and,

ultimately, dismissal at the pleading stage. Defs.’ Reply 11, ECF No. 73.

       But whether either ordinance violates the Privileges and Immunities Clause is a question

that cannot be definitively answered at this stage in the proceedings. “Application of the Privileges

and Immunities Clause to a particular instance of discrimination against out-of-state residents

entails a two-step inquiry”: first, “whether the ordinance burdens one of those privileges and

immunities protected by the Clause,” and second, if so, “whether there is a ‘substantial reason’ for

the difference in treatment” between in-state and out-of-state individuals. Camden, 465 U.S. at

218-22.

       Camden directly answered the first half of the inquiry. The Court concluded that residency

ordinances “bias the employment decisions of private contractors and subcontractors against out-

of-state-residents” and that the “opportunity to seek employment with . . . private employers is




                                                 43
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 44 of 57 PageID #:6378




‘sufficiently basic to the livelihood of the Nation’ . . . as to fall within the purview of the Privileges

and Immunities Clause,” even where contractors and subcontractors are engaged in projects

funded, in part or in whole, by a city. Id. at 221-22.

        But the Camden Court expressly declined to evaluate Camden’s justifications for the

residency ordinance on the record before the Court, as “[n]o trial ha[d] ever been held” and “[n]o

finding of facts ha[d] been made.” Id. at 223. Instead, the Court remanded the case to allow for

appropriate factual determinations to be made. And in doing so, it observed that “[e]very inquiry

under the Privileges and Immunities Clause ‘must . . . be conducted with due regard for the

principle that the states should have considerable leeway in analyzing local evils and in prescribing

appropriate cures,” and that “caution is particularly appropriate when a government body is merely

setting conditions on the expenditure of funds it controls.” Id. at 222-23. In fact, the Court went so

far as to say that, though the Camden ordinance fell within the purview of the Privileges and

Immunities Clause, “[t]he fact that Camden is expending its own funds or funds it administers in

accordance with the terms of the grant is certainly a factor—perhaps the crucial factor—to be

considered” in evaluating the ordinance’s constitutionality. Id. at 221 (emphasis added).

        It would therefore be premature to dismiss the City’s claims at this stage based on the

alleged unconstitutionality of either the Chicago Residency Ordinance or the Chicago Business

Preference. Whether the City’s ordinances are animated (and sufficiently justified) by a

“substantial reason” for distinguishing between City and non-City residents and businesses is a

“fact-intensive inquiry that cannot be resolved on a motion to dismiss—there have been no finding

of facts made in this case, nor has there been any discovery and no declarations have been filed by

anyone.” Metro. Wash. Chapter v. Dist. of Columbia, 57 F. Supp. 3d 1, 25-26 (D.D.C. 2014); cf.

W.C.M. Window Co., Inc. v. Bernardi, 730 F.2d 486, 498 (7th Cir. 1984) (concluding that a remand




                                                   44
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 45 of 57 PageID #:6379




for further factual development was not warranted because the “state had a full opportunity in the

preliminary-injunction proceeding in the district court to put into evidence (or ask the court to take

judicial notice of) facts justifying the preference law”); Mescall v. Burrus, 603 F.2d 1266, 1269

(7th Cir. 1979) (reversing district court’s dismissal of one count because “certain findings of fact

were made beyond the allegations of the complaint” and several issues relevant to the

constitutional challenge required “determination[s] . . . which cannot factually be justified upon

the motion to dismiss”).

                    Chicago’s Municipal False Claims Ordinance Is Within Its Home Rule
                    Authority and Is Not Preempted by the State False Claims Act Statute.

        The defendants also argue that the City does not have the constitutional authority to

promulgate its municipal false claims ordinance, MCC § 1-22-010, under the Illinois

Constitution’s home rule provisions, or, alternatively, that the Illinois False Claims Act preempts

the City’s ordinance. Neither argument is persuasive. First, as a home rule unit, the City “may

exercise any power and perform any function pertaining to its government and affairs including,

but not limited to, the power to regulate for the protection of the public health, safety, morals and

welfare; to license; to tax; and to incur debt.” Ill. Const. 1970, art. VII, § 6(a). The defendants

argue that home rule units primarily have license to act on issues of local concern, and “subjects

where the state has ‘a vital interest and a traditionally exclusive role’ are off-limits to local

government control.” Defs.’ Memo. Supp. 6-7, ECF No. 60. And they point to the state’s

“extensive whistleblower regulatory regime and several consumer fraud statutes” as evidence of

the state’s allegedly “dominant interest in investigating and enforcing whistleblower actions within

the state,” that, in their view, supersedes the City’s interest in protecting itself against false claims.

        But the enactment of the municipal false claims ordinance falls squarely within the City’s

home rule authority. The Illinois Constitution instructs that the “[p]owers and functions of home



                                                   45
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 46 of 57 PageID #:6380




rule units shall be construed liberally.” Ill. Const. 1970, art. VII, § 6(m). And the Illinois Supreme

Court has held that “[a]n ordinance pertains to the government and affairs of a home rule unit

where the ordinance relates to problems that are local in nature rather than State or national.” Vill.

of Bolingbrook v. Citizens Utils. Co. of Ill., 632 N.E.2d 1000, 1002 (Ill. 1994). The Chicago false

claims ordinance does not purport to address issues beyond the City’s borders—as the plaintiffs

note, the ordinance’s scope “is limited to false claims perpetrated against the City, in connection

with City contracts, and involving City funds.” Pls.’ Resp’ Opp’n 6, ECF No. 69. And the

defendants’ own briefing undermines the notion that the “state has a . . . traditionally exclusive

role” in the litigation of false claims submitted to local governments—before 1996, local entities

were, by definition, excluded from the Illinois False Claims Act’s coverage, and until 2008,

municipalities could choose to forego the IFCA’s protection. Defs.’ Memo. Supp. at 9. Until 1996,

then, the State had no interest in pursuing false claims made to local governments, and until 2008,

the State’s interest in pursuing municipal false claims stemmed from a local government’s decision

to turn over responsibility for litigating those cases to the State. And nothing the defendants point

to suggests that false claims are a statewide problem necessitating a uniform, statewide solution,

or a subject that is “off-limits to local government control.” Defs.’ Memo. Supp. at 7. The mere

fact that the State is also “interested and . . . active in the area” does not preclude home rule units

from “carry[ing] on activities that relate to their communities.” City of Chicago v. StubHub, Inc.,

979 N.E.2d 844, 851 (Ill. 2011) (citation omitted). To the contrary—the Illinois Constitution

expressly permits home rule units to “exercise and perform concurrently with the State” any power

or function valid under home rule “to the extent that the General Assembly by law does not

specifically limit . . . or specifically declare the State’s exercise to be exclusive.” Ill. Const. 1970,

art. VII, § 6(i). For years, the State and the City have done just that: the City has dealt with false




                                                   46
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 47 of 57 PageID #:6381




claims concerning City contracts or funds, and the State has dealt with false claims submitted to

state agencies or subdivisions and also assisted municipalities that, unlike Chicago, do not have

the resources or the interest in dealing with the issue locally.

       Even if the regulation of false claims is within the City’s home rule authority, the

defendants argue, the IFCA, in its current form, preempts Chicago’s ordinance. Defs.’ Memo.

Supp. at 8-9. As of 2008, the IFCA defines “State” to include “the State of Illinois; any agency of

State government; [and] . . . any . . . municipality, municipal corporation, [or] unit of local

government.” 740 ILCS 175/2. The defendants characterize the statute’s current definition as

evincing the legislature’s clear, express intent that the State be responsible for enforcing false

claims submitted not only to state agencies, but to municipalities like Chicago, as well. Defs.’

Memo. Supp. at 9. And allowing Chicago to maintain its own municipal false claims ordinance,

they argue, would undermine “one of the most important aspects” of the IFCA: the State Attorney

General’s ability to control the litigation. Id. at 10. Because the City and the State Attorney General

cannot simultaneously have complete control over litigation regarding false claims submitted to

the city, the defendants insist that the ordinance is preempted. Compare, e.g., 740 ILCS

§ 175/4(b)(1) (allowing dismissal of an IFCA action only with the Attorney General’s written

consent), with MCC 1-22-030(b)(1) (allowing dismissal of an action under the ordinance only with

the corporation counsel’s written consent).

       But the IFCA does not expressly or impliedly preempt the City’s false claim ordinances.

The defendants admit, as they must, that “the IFCA lacks an express preemption clause.” Defs.’

Memo. Supp. at 11. And their argument that, express language aside, the Illinois General Assembly

has “clearly expressed its intent” for the State to fully occupy the field of the litigation of false

claims falls flat—when the General Assembly wants to “clearly express its intent,” it knows how




                                                  47
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 48 of 57 PageID #:6382




to do so. In fact, it did so on the same day that the General Assembly amended the IFCA to remove

the pre-2008 opt-in clause. In the same bill as the amendments to the IFCA, the General Assembly

amended Illinois’s Whistleblower Act to add a new “Home Rule Limitation” section, 740 ILCS

174/40, which expressly states that “[i]t is the public policy of this State . . . that the provisions of

this Act are the exclusive exercise by the State of powers and functions which might otherwise be

exercised by other home rule units” and that “[s]uch powers and functions may not be exercised

concurrently” directly or indirectly by any unit of local government, including home rule units,

except as otherwise authorized. See Pub. Act. 95-0128, § 5 (eff. Jan. 1, 2008). That the General

Assembly did not insert identical language into the IFCA seriously (if not fatally) undermines the

defendants’ contention that the General Assembly had a clear intent to preempt the City’s ability

to litigate false claims cases under its own ordinance through the 2008 amendment. Cf. Scadron v.

City of Des Plaines, 606 N.E.2d 1154, 1163 (Ill. 1992) (“’[A] statute intended to limit or deny

home rule powers must contain an express statement to that effect.’ . . . [U]nless a State law

specifically states that a home rule unit’s power is limited, then the authority of a home rule unit

to act concurrently with the State cannot be considered restricted.”) (citation omitted).

        The defendants’ argument for implied preemption fares no better. The Illinois Supreme

Court has commented that the “purpose of section 6(i) [of the Illinois Constitution] is to eliminate

or at least reduce to a bare minimum the circumstances under which local home rule powers are

preempted by judicial interpretation of unexpressed legislative intent.” Scadron, 606 N.E.2d at

1163 (internal quotations and citation omitted). The defendants nonetheless urge that, by investing

in the State “primary responsibility for prosecuting the action,” the very structure of the IFCA

impliedly preempts Chicago’s municipal false claims ordinance—“the state’s interest is

destroyed . . . if cities . . . can bring their own actions for claims identical to the ones authorized




                                                   48
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 49 of 57 PageID #:6383




by the IFCA.” Defs.’ Memo. Supp. at 10. But the defendants’ parsing of the statute’s language is

not enough to surmount the high threshold for demonstrating implied preemption. It is true that

under the IFCA, “the ‘State’ has the primary responsibility for conducting a qui tam action and

maintains the authority to dismiss a case despite a relator’s objections,” but given the amended

definition of “State,” “logic dictates that the defrauded government unit retains the decision-

making power regarding the fate of a case.” Lyons Twp. ex rel. Kielczynski v. Vill. of Indian Head

Park, 84 N.E.2d 1118, 1123 (Ill. App. Ct. 2017). And the Illinois Supreme Court’s emphasis in

previous cases on the “Attorney General’s constitutional role as the chief legal officer of the state”

and the statute’s provision providing that the Attorney General “in all circumstances effectively

maintains control over the litigation” was not to settle a power struggle between the City’s

corporation counsel and the Attorney General over responsibility for false claims litigation, but to

support its conclusion that the IFCA’s qui tam provision does not usurp the Attorney General’s

exclusive authority to represent the state in litigation. Scachitti v. UBS Fin. Servs., 831 N.E.2d 544,

561 (Ill. 2005). That the State did not intervene to protect its own interest in this case (or in any

other, presumably, as no such case was cited in the defendants’ brief) further indicates that the

defendants’ structural concerns do not amount to implied preemption. And given the Attorney

General’s admission that “[i]n many instances . . . the Attorney General would not have known of

these schemes to defraud the State” but for qui tam relators, it seems the City’s investigation and

prosecution of its own false claims act cases would be, and is, considered an appropriate and

welcome use of the City’s expansive home rule authority. Id. at 561.4



       4
         The supplemental authority (in the form of a “Statement of Interest” filed by the Illinois
Attorney General in a state false claims case) offered by the defendants (ECF No. 101) to support
its argument that the City cannot maintain an enforcement action under its own false claims
ordinance where the state is pursuing the same claims under the ICFA adds no support for the
defendants’ argument. The Attorney General’s Statement of Interest merely confirmed points that


                                                  49
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 50 of 57 PageID #:6384




                   The City Has a Cause of Action under the Municipal Consumer Fraud
                   Ordinance

       The defendants also deride the inclusion of the City’s consumer fraud and deceptive

practices claims as both non-meritorious and proof of the “City’s kitchen-sink pleading approach.”

Defs.’ Memo. Supp. at 31. The defendants challenge the City’s cause of action on various grounds:

that the City is not a “person” capable of bringing suit under the Illinois Consumer Fraud and

Deceptive Business Practices Act, 815 ILCS 505/2 (ICFA); that the City is not a “consumer”

protected by the ICFA, according to 815 ILCS 505/1(e); that the City’s CFA claim duplicates its

breach of contract claim; and that the complaint does not satisfy Rule 9(b)’s particularity

requirement for fraud claims. Id. at 31-32. The defendants argue that, as a result, the City’s

consumer fraud claim under the municipal code, MCC § 2-25-090, cannot be sustained either—

they argue that the ordinance “does not contain an alternate, more expansive definition of ’person’

or ‘consumer’” and that “the City cannot bring a municipal ordinance claim for itself.” Id. at 32-

33. Finally, they argue that, even if the City can bring a claim under the municipal code on its own

behalf, it did not follow the ordinance’s requirements like “14-day notice” before certain

investigatory acts, nor did it “complete an investigation pursuant to this section.” Id.

       To the extent that the City’s complaint purports to raise a claim under the Illinois Consumer

Fraud and Deceptive Business Practices Act, however, the defendants’ motion to dismiss is

granted.5 As the defendants note, the City is not a “person” authorized to bring an action for actual



the plaintiffs do not dispute, namely that the state controls claims asserted under the ICFA. The
Attorney General’s Statement did not raise, much less opine on, the authority of a home rule unit
to press its own claims under its own ordinance.
       5
         The City maintains that its complaint “does not attempt to state a claim under the ICFA.”
Pls.’ Resp. Opp’n at 33. But the defendants’ confusion is understandable—the City’s complaint
alleges “violations of MCC § 2-25-090, et seq., and 815 ILCS 505/2” in Count III. City Compl. at
18-19, ¶ 126.


                                                 50
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 51 of 57 PageID #:6385




damages under the state statute. See 815 ILCS 505/10a(a) (authorizing “[a]ny person who suffers

actual damage as a result of a violation of this Act committed by any other person” to “bring any

action against such person” for actual economic damages or other relief); Bd. of Educ. of City of

Chicago v. A, C & S, Inc., 546 N.E.2d 580, 598-99 (Ill. 1989) (holding that a body politic is not a

“person” or “corporation” as used in the Consumer Fraud Act).

       But as the City notes, Count III of its complaint asserts a claim for violation of the

ordinance, not (only) the ICFA, and that the City lacks authority to bring a deceptive business

practice claim under the ICFA does not bear on its ability to bring a claim under MCC § 2-25-090.

It’s true that the ordinance instructs that “consideration shall be given to court interpretations

relating to the Illinois Consumer Fraud and Deceptive Business Practices Act” in construing its

provisions. MCC § 2-25-090(a). But, just as the ICFA does for the Attorney General, the ordinance

expressly authorizes corporation counsel to bring an action on the City’s behalf against individuals

who have engaged in business practices prohibited by the section. Compare id. § 2-25-090(f)(4),

with 815 ILCS 505/7. 6 That the City could not bring the same claim under the ICFA is irrelevant.

See Pls.’ Resp. Opp’n Ex. A (City of Chicago ex rel. Foxx v. Uber Techs., No. 17 CH 15594, at 2-

3 (Ill. Cir. Ct. July 16, 2018) (“The City may properly pursue claims under the Ordinance

regardless of whether it could assert independent claims under the ICFA or PIPA.”)).




       6
          The City seeks restitution, disgorgement, and the imposition of a $10,000 civil penalty
per violation per each day the violation occurred. The parties do not address, however, whether
the City is limited in the type of relief it is entitled to seek under the consumer fraud ordinance, in
light of the language authorizing corporation counsel to “bring an action for injunctive relief or
other such equitable relief that the commissioner deems to be appropriate.” MCC § 2-25-090(f)(4);
compare 815 ILCS 505/7(b) (expressly authorizing the Attorney General to request that a court
impose a civil penalty up to $50,000 per violation). Because the issue is not briefed, the Court does
not decide it here.


                                                  51
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 52 of 57 PageID #:6386




       Further, the defendants’ conclusion that the City’s interests cannot be vindicated under the

state statute or municipal ordinance is incorrect. To bring an ICFA claim, “a plaintiff must either:

(1) be a ‘consumer,’ or, (2) if a non-consumer, satisfy the ‘consumer nexus’ test, which requires

the plaintiff to ‘have suffered damages resulting from conduct that is either directed toward the

market or otherwise implicates consumer protection concerns.’” Tile Unlimited, Inc. v. Blanke

Corp., 788 F. Supp.2d 734, 738 (N.D. Ill. 2011). The defendants argue that the City is not a

consumer and cannot otherwise satisfy the consumer nexus test, as “the City’s complaint is about

conduct directed at it—not the ‘market’—and does not otherwise implicate ‘consumer protection

concerns.’” Defs.’ Memo. Supp. at 32. But whether the City is a “consumer” is, again, the wrong

question; the issue is whether an entity with standing may bring an action based on deceptive

business practices targeting the City. And on that question, the answer is clear: yes. Cf. People ex

rel. Hartigan v. E&E Hauling, Inc., 607 N.E.2d 165, 172 (Ill. 1992) (allowing the Attorney General

to bring construction contract-based ICFA claims arising from the defendants’ contract with the

Metropolitan Fair and Exposition Authority, because “[u]nder section 7 [of the ICFA], the

Attorney General is not limited in regard to whose interests he may seek to protect under the Act”

and “[n]othing in section 7 indicates that the defrauded party must be a consumer or ‘person’ in

order for the Attorney General to have standing”); People ex rel. Daley v. Datacom Sys. Corp.,

585 N.E.2d 51, 65 (Ill. 1992) (“A person’s status as a consumer relates to his or her standing as an

individual under the Consumer Fraud Act, but it is irrelevant in a case, like the one at bar, which

is brought by the State’s Attorney.”). See also Pl.’s Resp. Opp’n Ex. B (City of Chicago v. Mason,

No. 17 L 5477, at 4 (Ill. Cir. Ct. Feb. 16, 2018) (denying a motion to dismiss the City’s claim under

MCC § 2-25-080(a) because, to bring such a claim, the City “does not need to be a person, or a

consumer”)).




                                                 52
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 53 of 57 PageID #:6387




       The defendants’ remaining statutory challenge to the City’s municipal consumer fraud

claim is that “the City has not satisfied any of the requirements of the ordinance itself before

bringing suit.” Defs.’ Memo. Supp. at 33. The defendants note, for example, that the City’s

complaint does not indicate that the commission undertook an investigation pursuant to § 2-25-

090(f) or that the defendants received fourteen days’ notice before certain investigatory actions

were taken, pursuant to § 2-25-090(d). Id. This exhaustion argument is a non-starter. Neither of

the supposed requirements in the municipal ordinance even remotely resemble the type of

“prescribed administrative remedy” at issue in the defendants’ cited cases, such that a failure to

comply with the ordinance’s requirements would render the City unable to seek relief under it.

See, e.g., Adams v. City of Chicago, 491 F. Supp. 1257, 1259 (N.D. Ill. 1980) (describing the

plaintiffs’ failure to avail themselves of the Comprehensive Employment and Training Act’s

administrative grievance procedure before seeking judicial relief). The fourteen-day notice

requirement in § 2-25-090 is only applicable, for example, if the commissioner wants to examine

a person, merchandise, or business records and other documents; retain copies of those documents;

or request a written statement regarding allegations of consumer fraud or deceptive business

practices. But the commissioner is not required to take any of those steps—the ordinance states

that the commissioner may (with proper notice) take those actions, not that the commissioner must.

MCC § 2-25-090(d) (if, based on a complaint or otherwise, it appears that a person has engaged

in, is currently engaged in, or is about to engage in a prohibited practice, “the commissioner may,

after serving a 14-day notice” take certain investigatory actions) (emphasis added).7 No more



       7
         Though not dispositive to the Court’s analysis, it bears noting that the defendants neither
indicate that the Commissioner actually took any of the investigatory actions subject to the
fourteen-day notice requirement nor that, if the commissioner did take such action, that JKCC did
not receive proper notice.


                                                53
  Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 54 of 57 PageID #:6388




convincing is the defendants’ insistence that “the City’s complaint is devoid of any suggestion that

the Commissioner conducted or completed any investigation” indicates an attempt to “circumvent”

a “notice, investigative, and administrative process” described in the ordinance. Defs.’ Memo.

Supp. at 33. Again, it’s notable that the defendants’ focus is on the City’s failure to adequately

plead that there was an investigation, rather than whether an investigation actually occurred—and

disputing that would be a frivolous argument, in light of the multiple requests for extension from

the United States, with the assent of the state and the City, for the express purpose of investigating

Milazzo’s claims. See, e.g., Sealed Mot., ECF No. 10 (the United States’ second motion for an

extension to continue investigating the relator’s claims); City’s Notice of Intervention in Part, ECF

No. 13 (filed more than two years after Milazzo’s initial complaint alerted the City of the allegedly

fraudulent scheme). Moreover, the motivating concerns that led to the doctrine of administrative

exhaustion—cutting down on the work of courts, preserving the integrity and autonomy of

administrative processes, and ensuring that a court has “before it the mature, considered, and final

articulation of the basis of the agency's action”—are not applicable here, and certainly do not

warrant dismissing the City’s claim. See Glisson v. U.S. Forest Serv., 55 F.3d 1325, 1327 (7th Cir.

1995). For the reasons described in the City’s complaint, it believes that JKCC and Kennedy

engaged in the type of deceptive business practices prohibited by the ordinance. Based on that

belief, it could have taken any one of various courses of action, including asking corporation

counsel to commence an action for certain forms of relief. That’s what the City has done, and there

is no basis for dismissing the City’s claim based on a failure to investigate (especially in light of

the investigation which may be inferred from the City’s allegations) or its failure to give notice

that it took particular discretionary actions.




                                                 54
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 55 of 57 PageID #:6389




       Finally, the defendants offer two more bases they believe warrant dismissal of the City’s

claim under MCC § 2-25-090: first, that the claim “duplicates the City’s breach of contract claim,”

and second, that the City’s complaint “does not satisfy Rule 9(b)’s pleading requirements.” Defs.’

Memo. Supp. at 32. Neither is persuasive. The gist of both points is the same: the city’s consumer

ordinance duplicates the city’s breach of contract claim because it fails to adequately allege fraud.

The defendants are correct that “[a] breach of contractual promise, without more, is not actionable

under the Consumer Fraud Act.” Avery v. State Farm Mut. Auto. Ins. Co., 835 N.E.2d 801, 844

(Ill. 2005). But the City has alleged more than the defendants’ mere “failure to fulfill their

contractual obligations”—the City’s claim is not predicated on JKCC’s failure to comply with the

contractual residency requirements, but on the defendants’ scheme to obscure their noncompliance

through the submission of false or incomplete payroll certifications. Compare Dyson, Inc. v.

Syncreon Tech. (America), Inc., No. 17 C 6285, 2019 WL 3037075, at *5 (N.D. Ill. July 11, 2019)

(holding that plaintiff’s allegations that the defendant “induced it to enter the contract by

misrepresenting its experience in retail logistics and its existing technological capacity” did not

duplicate the plaintiff’s breach of contract claim, because the allegations went “beyond [the

defendant’s] unfulfilled promise to perform its contractual obligations”); Greenberger v. GEICO

Gen. Ins. Co., 631 F.3d 392, 399 (7th Cir. 2011) (“When allegations of consumer fraud arise in a

contractual setting, the plaintiff must prove that the defendant engaged in deceptive acts or

practices distinct from any underlying breach of contract.”). In so pleading, the City has alleged

the “something more” that distinguishes its claim under MCC § 2-25-090 from “garden-variety

breach of contract.” Greenberger, 631 F.3d at 399. And the defendants’ Rule 9(b) argument as to

the City’s description of the allegedly fraudulent conduct is weak: the City has alleged, in detail,

how it believes JKCC carried out the alleged CRO fraud, specific JKCC employees that it believes




                                                 55
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 56 of 57 PageID #:6390




were involved in the scheme, and the contracts it believes were affected by JKCC’s conduct. At

this stage, the City has pleaded fraud with the requisite particularity

                                          *       *       *

       In sum, the defendants’ motion to dismiss is granted in part and denied in part. The

plaintiffs’ presentment and false statement claims fail; Milazzo and the City have failed to

adequately plead that JKCC presented false claims or made or used a false record or statement

material to a false claim. The defendants’ motion, however, does not offer a developed argument

as to why the plaintiffs’ “reverse claims” theory fails under the false claims statutes and ordinance.

Nevertheless, all of the claims asserted under the false claims statutes and ordinance fail because

the plaintiffs have not adequately pleaded the materiality of the defendants’ allegedly fraudulent

misrepresentations regarding their compliance with the CRO or their eligibility for the Chicago

Business Preference. With respect to Joel Kennedy individually, the City has failed to plead with

adequate specificity Joel Kennedy’s role in the allegedly fraudulent scheme to avoid the City’s

CRO requirements.

       On those bases, the entirety of Milazzo’s Second Amended Complaint and Counts I and II

of the City’s complaint are dismissed without prejudice. Because the plaintiffs have not had a prior

opportunity to respond to the Court’s assessment of the complaints and it is possible that additional

pleading could cure the deficiencies noted by the Court, the dismissals are without prejudice and

the plaintiffs will be given the opportunity to amend.

       The defendants’ motion to dismiss is denied as to Counts III and IV of the City’s complaint.

The Court cannot determine, as a matter of law, that the City’s residency ordinance and business

preference are unconstitutional at the motion to dismiss stage; as a result, the City’s breach of

contract claim survives. Finally, the defendants’ argument that the City does not have a cause of




                                                 56
 Case: 1:17-cv-03062 Document #: 104 Filed: 02/07/22 Page 57 of 57 PageID #:6391




action under the municipal consumer fraud and deceptive business practices ordinance is

unpersuasive, and so the City’s claims under Count III against JKCC and Kennedy may proceed

in a manner consistent with the Court’s determination that the City has inadequately pleaded

Kennedy’s individual involvement in the CRO scheme.



                                                        ______________________
Dated: February 7, 2022                                 John J. Tharp, Jr.
                                                        United States District Judge




                                            57
